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                      EXHIBIT QQ
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                                                             Small Business Committee Staff:
                                                                     Stephanie Jones, Counsel
                                                                Noah Meixler, Policy Analyst
                                                          Aliya Ali, Principal Finance Analyst

                                    Consumer Affairs and Business Licensing Committee Staff:
                                                             Balqees Mihirig, Senior Counsel
                                                              Leah Skrzypiec, Policy Analyst
                                                    Sebastian Bacchi, Senior Finance Analyst




                    THE COUNCIL OF THE CITY OF NEW YORK

 BRIEFING PAPER AND COMMITTEE REPORT OF THE GOVERNMENTAL AFFAIRS
                                   DIVISION
                        Jeffrey Baker, Legislative Director
             Rachel Cordero, Deputy Director for Governmental Affairs

                        COMMITTEE ON SMALL BUSINESS
                            Hon. Mark Gjonaj, Chair

         COMMITTEE ON CONSUMER AFFAIRS AND BUSINESS LICENSING
                         Hon. Andrew Cohen, Chair


                                   April 29, 2020



     OVERSIGHT: The Impact of COVID-19 on Small Businesses in New York City


INT. NO. 1846:                                By Council Members Torres and Chin

TITLE:                                        A Local Law to amend the administrative
                                              code of the city of New York, in relation to
                                              the disclosure of gratuity policies for delivery
                                              workers

                                         1
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INT. NO. 1895:                                By Council Members Gjonaj,            Kallos,
                                              Constantinides, and Brannan

TITLE:                                        A Local Law to amend the administrative
                                              code of the city of New York, in relation to
                                              food service establishments' packaging of
                                              food for delivery


INT. NO. 1896:                                By Council Members Gjonaj, Kallos,
                                              Constantinides, Brannan, and Gibson

TITLE:                                        A Local Law to amend the administrative
                                              code of the city of New York, in relation to
                                              the disclosure of commissions charged by
                                              third-party food delivery services


INT. NO. 1897:                                By Council Members Gjonaj, Constantinides,
                                              Brannan, and Gibson

TITLE:                                        A Local Law to amend the administrative
                                              code of the city of New York, in relation to
                                              the licensing of third-party food delivery
                                              services


INT. NO. 1898:                                By Council Members Gjonaj, Moya,
                                              Constantinides, Brannan, Rosenthal and
                                              Gibson

TITLE:                                        A Local Law to amend the administrative
                                              code of the city of New York, in relation to
                                              telephone order charges by third-party food
                                              delivery services


INT. NO. 1907:                                By Council Members Moya,              Gjonaj,
                                              Brannan, Rosenthal and Gibson

TITLE:                                        A Local Law to amend the administrative
                                              code of the city of New York, in relation to
                                              prohibiting third-party food delivery services
                                              from limiting the purchase prices covered
                                        -2-
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                                              establishments may charge on food and
                                              beverage orders


PROPOSED INT. NO. 1908-A:                     By Council Members Moya, Gjonaj, Kallos,
                                              Brannan, Rosenthal, Gibson, Ayala, Van
                                              Bramer, Rivera and Cohen

TITLE:                                        A Local Law to amend the administrative
                                              code of the city of New York, in relation to
                                              fees charged by third-party food delivery
                                              services


INT. NO. 1914:                                By Council Member Adams and the Speaker
                                              (Council Member Johnson)

TITLE:                                        A Local Law to amend the administrative
                                              code of the city of New York, in relation to
                                              harassment of commercial tenants impacted
                                              by COVID-19


INT. NO. 1916:                                By Council Member Cohen

TITLE:                                        A Local Law in relation to requiring the
                                              department of consumer affairs to waive and
                                              refund all fees related to sidewalk cafe
                                              licenses that are due on or after January 1,
                                              2020 until December 31, 2020, and providing
                                              for the repeal of such provision upon the
                                              expiration thereof


INT. NO. 1921:                                By Council Members Gjonaj and Louis

TITLE:                                        A Local Law to amend the administrative
                                              code of the city of New York, in relation to
                                              requiring third-party food delivery services
                                              and food service establishments to display
                                              sanitary inspection letter grades online


INT. NO. 1932:                                By Council Member Rivera and the Speaker
                                              (Council Member Johnson)
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TITLE:                                        A Local Law to amend the administrative
                                              code of the city of New York, in relation to
                                              personal liability provisions of leases for
                                              commercial tenants impacted by COVID-19

PRECONSIDERED INT. NO.        :               By Council Member Matteo

TITLE:                                        A Local Law in relation to requiring the
                                              mayor to issue a guidance on license and
                                              permit renewal deadline extensions, and
                                              requiring that no such licenses or permits be
                                              required to be renewed within 90 days after
                                              the COVID-19 emergency has ended, and
                                              providing for the repeal of such provision
                                              upon the expiration thereof


RES. NO. 1049:                                By the Public Advocate (Mr. Williams) and
                                              Council Members Levin and Cabrera

TITLE:                                        A Resolution calling upon the United States
                                              Congress and the New York State Legislature
                                              to pass legislation to prohibit the use of a
                                              confession of judgment in business loans




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I.     INTRODUCTION

       On April 29, 2020, the Committee on Small Business, chaired by Council Member Mark

Gjonaj, and the Committee on Consumer Affairs and Business Licensing, chaired by Council

Member Andrew Cohen, will hold a remote oversight hearing on “The Impact of COVID-19 on

Small Businesses in New York City.” The Committees will also hear a package of thirteen pieces

of legislation designed to help small businesses in the City weather the negative impacts of the

COVID-19 outbreak. Those invited to testify include representatives from the New York City

Department of Small Business Services (SBS), representatives from the Department of

Consumer and Worker Protection (DCWP) (formerly the Department of Consumer Affairs),

representatives from the Office of Nightlife at the Mayor’s Office of Media and Entertainment,

representatives from third-party delivery platforms, small business advocates, chambers of

commerce, Business Improvement Districts (BIDs), and other community-based non-profit

organizations.

       The package of legislation includes the following bills: (1) Int. No. 1846 by Council

Member Torres, a local law to amend the administrative code of the city of New York, in

relation to the disclosure of gratuity policies for delivery workers; (2) Int. No. 1895 by Council

Member Gjonaj, a local law to amend the administrative code of the city of New York, in

relation to food service establishments' packaging of food for delivery; (3) Int. No. 1896 by

Council Member Gjonaj, a local law to amend the administrative code of the city of New York,

in relation to the disclosure of commissions charged by third-party food delivery services; (4)

Int. No. 1897 by Council Member Gjonaj, a local law to amend the administrative code of the

city of New York, in relation to the licensing of third-party food delivery services; (5) Int. No.
                                               -5-
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1898 by Council Members Gjonaj and Moya, a local law to amend the administrative code of the

city of New York, in relation to telephone order charges by third-party food delivery services; (6)

Int. No. 1907 by Council Members Moya and Gjonaj, a local law to amend the administrative

code of the city of New York, in relation to prohibiting third-party food delivery services from

limiting the purchase prices covered establishments may charge on food and beverage orders; (7)

Proposed Int. No. 1908-A by Council Members Moya and Gjonaj, a local law to amend the

administrative code of the city of New York, in relation to fees charged by third-party food

delivery services; (8) Int. No. 1914 by Council Member Adams and the Speaker (Council

Member Johnson), a local law to amend the administrative code of the city of New York, in

relation to harassment of commercial tenants impacted by COVID-19; (9) Int. No. 1916 by

Council Member Cohen, a local law in relation to requiring the department of consumer affairs

to waive and refund all fees related to sidewalk cafe licenses that are due on or after January 1,

2020 until December 31, 2020, and providing for the repeal of such provision upon the

expiration thereof; (10) Int. No. 1921 by Council Members Gjonaj and Louis, a local law to

amend the administrative code of the city of New York, in relation to requiring third-party food

delivery services and food service establishments to display sanitary inspection letter grades

online; (11) Int. No. 1932 by Council Member Rivera and the Speaker (Council Member

Johnson), a local law to amend the administrative code of the city of New York, in relation to

personal liability provisions of leases for commercial tenants impacted by COVID-19; (12)

Preconsidered Int. No.__ by Council Member Matteo, in relation to requiring the mayor to issue

a guidance on license and permit renewal deadline extensions, and requiring that no such

licenses or permits be required to be renewed within 90 days after the COVID-19 emergency has

ended, and providing for the repeal of such provision upon the expiration thereof; and (13) Res.
                                                -6-
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No. 1049 by The Public Advocate (Mr. Williams), a resolution calling upon the United States

Congress and the New York State Legislature to pass legislation to prohibit the use of a

confession of judgment in business loans.

II.      BACKGROUND

         In late December of 2019, a new virus, SARS-CoV-2, was detected in Wuhan, China and

by January 30, 2020, the World Health Organization (WHO) declared that COVID-19, the

disease caused by the SARS-CoV-2 virus, was now a Public Health Emergency of International

Concern (PHEIC).1 SARS-CoV-2 is not the first virus to pose a serious threat to modern

civilization in recent decades. In 2003, the severe acute respiratory syndrome (SARS) was

labelled the “first pandemic of the 21st century”, because it spread quickly across continents,

infected more than 8,000 people and killed nearly 800.2 By comparison, COVID-19 has infected

2.5 million people across 210 countries, and has killed nearly 800,000 people as of April 22,

2020.3

         The ease with which the virus spreads has caused governments across the globe to shut-

down businesses, schools, religious and cultural institutions, and mandate various levels of social

isolation. While this has helped to limit the spread of the virus, stay-at-home orders have had a

catastrophic impact on economic markets and particularly small businesses.

         1. The Impact on Small Businesses Amid the COVID-19 Crisis



1
  World Health Organization “Rolling updates on coronavirus disease (COVID-19)”, last updated April 18, 2020,
available at: https://www.who.int/emergencies/diseases/novel-coronavirus-2019/events-as-they-happen.
2
  James W. DeLuc and M. Anita Barry “SARS, the first pandemic of the 21st century”, Emerging Infectious Diseases,
November 2004, vol. 10(11), e26, available at: https://www.ncbi.nlm.nih.gov/pmc/articles/PMC3329048/.
3
  Worldometer “Countries where COVID-19 has spread”, April 22, 2020, available at:
https://www.worldometers.info/coronavirus/countries-where-coronavirus-has-spread/.
                                                        -7-
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        In New York, Governor Andrew Cuomo issued an executive order – New York State on

PAUSE (PAUSE) – that closed all on-site, non-essential businesses, effective March 22, 2020, to

help stop the spread of SARS-CoV-2.4 The list of essential businesses that are still permitted to

operate, to some degree, include:

               Health care operations – such as hospitals, medical labs, walk-in clinics, home

                healthcare, elder care, veterinaries, nursing homes, licensed mental health

                providers, and medical billing support personnel.

               Infrastructure – such as airports, public utilities, hotels, commercial shipping

                ports, and telecommunications.

               Manufacturing – such as food processing, pharmaceuticals, automobiles,

                household paper products, and chemicals.

               Retail – such as grocery stores, pharmacies, framer’s markets, gas stations,

                restaurants (for take-out and delivery only), and convenience, hardware and pet

                food stores.

               Services – such as laundromats, postal services, trash and recycling collection,

                bicycle and automotive repair, funeral homes, and animal shelters.

               Financial Institutions – such as banks and lending institutions, insurance

                companies, and accounting firms.




4
 Governor Andrew Cuomo “Governor Cuomo signs the ‘New York State on PAUSE’ executive order”, March 20,
2020, available at: https://www.governor.ny.gov/news/governor-cuomo-signs-new-york-state-pause-executive-
order.
                                                     -8-
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                Human Services Providers – such as food banks, homeless shelters and

                 community care programs.

                Construction – insofar that it supports affordable housing, hospitals, roads, transit

                 facilities, homeless shelters or schools.

                Public Health and Safety – such as law enforcement, fire and emergency services,

                 building cleaners or janitors, and residential moving services.

                Logistical, Technological and Child Care Services – such as technology support

                 for online services, child care programs, government owned or leased buildings

                 and essential government services.

                Recreation – such as parks and open spaces (not including playgrounds), and

                 boatyards and marinas.

                Professional Services – such as lawyers and real estate services.

                News Media; and

                Defense.5

        Although this list covers a range of industries that are permitted to operate during

PAUSE, a large proportion of New York’s small (and large) businesses have still had to severely

reduce their capacities. According to an analysis by the NYC Comptroller, the City’s hotels are

projected to only maintain an occupancy rate of 20 percent, while restaurant sales are expected to




5
 Empire State Development “Guidance for determining whether a business enterprise is subject to a workforce
reduction under recent executive orders”, April 19, 2020, available at: https://esd.ny.gov/guidance-executive-
order-2026, last accessed April 22, 2020.
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drop by a staggering 80 percent. Real estate and retail sales are both expected to decline by 20

percent.6

        These figures for the restaurant industry reflect the results of a recent survey by the New

York State Restaurant Association. According to their findings, sales have declined by 79

percent, and New York State restaurants are expected to lose $3.6 billion in sales revenue, in

April alone.7 Just over half (51 percent) of all restaurants have been able to move their operations

online, and unemployment rates in this sector have skyrocketed, as 80 percent of restaurant

workers have lost their jobs.8

        Restrictions similar to PAUSE have been implemented across the country, which has

caused a massive reduction in the number of small businesses operating. In their survey of small

businesses (under 500 employees), the National Bureau of Economic Research found that 43

percent of businesses had closed due to COVID-19 and that they had reduced their staff by about

40 percent since January 2020.9 The results were more severe in the Mid-Atlantic region, which

includes New York, where 57 percent of businesses were closed, and staff employment

decreased by 47 percent.10 According to the survey’s conclusion, about 20 percent of the nation’s




6
  New York City Comptroller Scott M. Stringer “Comptroller Stringer: City must take immediate action to prepare
for economic impacts of COVID-19 and protect vital services for most vulnerable New Yorkers”, March 16, 2020,
available at: https://comptroller.nyc.gov/newsroom/comptroller-stringer-city-must-take-immediate-action-to-
prepare-for-economic-impacts-of-covid-19-and-protect-vital-services-for-most-vulnerable-new-yorkers/.
7
  New York State Restaurant Association “Restaurant industry impact survey: New York State”, April, 2020,
available at:
https://www.nysra.org/uploads/1/2/1/3/121352550/restaurant_industry_impact_survey___new_york_state__2_.
pdf.
8
  Id.
9
  Alexander W. Bartik et al. “How are small businesses adjusting to Covid-19? Early evidence from a survey”,
National Bureau of Economic Research, April 2020, available at: https://www.nber.org/papers/w26989.pdf.
10
   https://www.nber.org/papers/w26989.pdf.
                                                        -10-
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employees work in “retail trade, leisure and hospitality and these sectors are particularly

vulnerable to the current pandemic.”11

        2. Federal, State and Local Government Response to Help Small Businesses

        The nation’s economy is dependent on its small businesses. There are approximately 27

million of these businesses across the country and they are responsible for employing 57 million

workers.12 When including the owners of these businesses, in addition to employees, that total

comes to an estimated 85 million people.13 According to the Small Business Administration,

small businesses are responsible for creating two-thirds of the Country’s new jobs.14 Given their

vital role, it is crucial that they are either given alternative means to operate, in as lucrative a

manner as possible, throughout the COVID-19 crisis, and/or are provided the necessary support

to restart their operations once social distancing measures have been lifted.

        a. Federal Government Assistance

        During this crisis, small businesses in New York City may apply for various assistance

programs including funding distributed by the federal government through its Small Business

Administration (SBA). These programs include the Paycheck Protection Program (PPP),15 the

Economic Injury Disaster Loan and Advance (EIDL) and the SBA Express Bridge Loans and


11
   Id.
12
   Information Station “How important are small businesses?”, January 3, 2017, available at:
https://informationstation.org/video/how-important-are-small-
businesses/?utm_source=google&utm_medium=cpk&gclid=EAIaIQobChMI-
Ymy3df86AIVGozICh0QRQPrEAAYASAAEgI7ivD_BwE.
13
   Id.
14
   United States Small Business Administration “Small Businesses generate 44 percent of U.S. economic activity”,
January 30, 2019”, available at: https://advocacy.sba.gov/2019/01/30/small-businesses-generate-44-percent-of-u-
s-economic-activity/.
15
   United States Small Business Administration “Paycheck Protection Program”, available at:
https://www.sba.gov/funding-programs/loans/coronavirus-relief-options/paycheck-protection-program-ppp (last
visited on April 9, 2020).
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Debt Relief programs. The federal government has also temporarily increased the unemployment

insurance stipend that laid-off or furloughed workers may receive, which may have implications

for the workforce of some small businesses.


Paycheck Protection Program


        The Coronavirus, Aid, Relief, and Economic Security Act (CARES ACT) originally

allocated about $349 billion in federal funds for PPP, with an additional $322 billion authorized

by Congress in late April.16 The program provides various types of employers, including small

businesses, nonprofits, self-employed individuals and independent contractors, access to loans to

cover payroll costs of up to $100,000 per employee, rent and mortgage interest prior to February

15, 2020, and utilities. Loans are calculated per employer or per location, and may be as high as

2.5 times the average monthly payroll for the one-year period before the loan application is

submitted, to a cap of $10 million. Loans are calculated differently for seasonal and new

employers. Employers of fewer than 500 workers may apply for these loans through a network of

banks ranging from large to smaller banks.17 Banks may not require applicants to supply

collateral or personal guarantees, and applicants may only apply for one PPP loan.


        PPP loans can be forgiven up to the value of eight weeks of payroll costs of up to

$100,000 per employee, rent and mortgage interest prior to February 15, 2020, and utilities. To

qualify for loan forgiveness, however, 75 percent of the amount loaned must be used for payroll


16
   Emily Cochrane and Jim Tankersley “Senate approves aid for small-business loan program, hospitals and testing”,
April 21, 2020, New York Times, available at: https://www.nytimes.com/2020/04/21/us/politics/congress-
business-relief-ppp.html.
17
   In the recent funding allocation, $60 billion was set aside for lenders with less than $50 billion in assets. See
Aaron Gregg and Renae Merle “How to get a small-business loan under the new $484 billion coronavirus aid
package”, April 23, 2020, The Washington Post, available at:
https://www.washingtonpost.com/business/2020/04/22/small-business-loan-faq.
                                                           -12-
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costs, and employee and salary levels must be maintained, or else the forgiven amount will be

reduced. If not forgiven, PPP loans accrue at a one percent interest rate and must be paid back

within two years, with an optional deferral of up to six months. There are no loan fees or

prepayment penalties.


Economic Injury Disaster Loan and Advance18


        Small businesses may apply for the SBA’s existing Economic Injury Disaster Loan

program (EIDL), which the CARES Act expanded upon. The existing program provides

economic relief for small businesses of fewer than 500 employees or otherwise meets SBA size

standards, self-employed persons, independent contractors and nonprofits in the form of loans of

up to $2 million. To be eligible, entities must also demonstrate the ability to repay the loan.

Interest rates are low (3.75 percent for small businesses and 2.75 percent for nonprofits) and

feature long-term repayment plans of up to 30 years.


        The CARES Act expanded upon this program to provide a loan advance. Eligible entities

that can show a temporary loss of revenue can receive an advance of up to $10,000 upon

successful application for an EIDL loan. That advance may be forgiven by the federal

government.


SBA Express Bridge Loans19 and Debt Relief20


18
   United States Small Business Administration “Economic injury disaster loan emergency advance”, available at:
https://www.sba.gov/funding-programs/loans/coronavirus-relief-options/economic-injury-disaster-loan-
emergency-advance (last visited on April 9, 2020).
19
   United States Small Business Administration “SBA Express Bridge Loans”, available at:
https://www.sba.gov/funding-programs/loans/coronavirus-relief-options/sba-express-bridge-loans (last visited on
April 9, 2020).
20
   United States Small Business Administration “SBA debt relief”, available at: https://www.sba.gov/funding-
programs/loans/coronavirus-relief-options/sba-debt-relief (lasted visited on April 9, 2020).
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         The CARES Act allocated funds for SBA’s Express Bridge Loan program and their Debt

Relief program. The Express Bridge Loan program quickly provides funds of up to $25,000 for

businesses eligible for SBA’s 7(a) loans to overcome a temporary loss of revenue. SBA’s Debt

Relief program allows businesses that are eligible for SBA’s 7(a), 504 and microloans to receive

limited payment of principal, interest and fees on these loans. The 7(a), 504 and microloans are

SBA’s standard small business loan programs, which were established before the onset of

COVID-19. The 7(a) loans are available for general business purposes, such as working capital,

equipment, furniture, and land and building.21 They are provided through a lender.22 The 504

loans are issued by Certified Development Companies for long-term, fixed-asset financing for

small businesses, such as the purchase and improvement of land and buildings.23 Microloans are

temporary, short-term loans of up to $50,000 to small businesses for general business purposes,

and are offered by nonprofits.24


         The federal government’s PPP program, although heavily utilized, has raised some

concerns. As of April 13, 2020, the program had issued about 1,661,367 loans totaling over $342

billion, with over 4,975 lenders participating.25 However, a recent ranking of businesses

receiving loans as a percentage of each state’s eligible payroll revealed that New York State

placed second to last, with only 23.1 percent of eligible businesses receiving a loan. 26 By


21
   United States Small Business Administration Office of Financial Assistance: Resources, 7(a) Loans”, available at:
https://www.sba.gov/offices/headquarters/ofa/resources/11428 (last visited on April 9, 2020).
22
   Id.
23
   United States Small Business Administration “Office of Financial Assistance: Resources, 504 Loans”, available at:
https://www.sba.gov/offices/headquarters/ofa/resources/4049 (last visited on April 9, 2020).
24
   See 13 CFR § 120.2 for the definition of this and other, traditional SBA loan programs.
25
   United States Small Business Administration “Paycheck Protection Program (PPP) Report: Approvals through
4/16/20”, available at: https://www.sba.gov/sites/default/files/2020-04/PPP%20Deck%20copy.pdf.
26
   Zachary Mider and Cedric Sam “Small-business rescue shows not all states are created equal”, updated April 20,
2020, Bloomberg, available at: https://www.bloomberg.com/graphics/2020-sba-paycheck-protection-program/.
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contrast, Nebraska and North Dakota reached 74.7 percent and 71.5 percent respectively.27

Further, some industries fared better than others, with the construction industry receiving the

highest percentage of loans (13 percent) and restaurants receiving less than nine percent, 28

despite representing about 14 percent of companies employing under 500 people.29 Of the

restaurants who received loans, some reports allege that too many have gone to large chains, and

a handful of these companies have received blowback for accepting loans. A Reuters article

claimed that 25 percent of the initial $350 billion allocated to SBA loan programs went to fewer

than two percent of the firms that got relief, with some of these being large, publicly-traded

companies with “thousands of employees and hundreds of millions of dollars in annual sales.”30

Among these companies is the Ruth’s Hospitality Group (owns 150 Ruth’s Chris Steak Houses),

Potbelly ($409.7 million in sales and 6,000 employees) and Shake Shack (8,000 employees).

Both Ruth’s Hospitality Group31 and Shake Shack have agreed to return their loans, the latter of

which citing an ability to raise the funds through other means.32 Similarly, dozens of large

companies with financial or legal problems have reportedly received significant loans through

the program, according to an analysis of 200 publicly-traded companies that reported receiving a




27
   Id.
28
    United States Small Business Administration “Paycheck Protection Program (PPP) Report: Approvals through
4/16/20”, available at: https://www.sba.gov/sites/default/files/2020-04/PPP%20Deck%20copy.pdf.
29
   Andy Sullivan, Howard Schneider and Ann Saphir “Main street bailout rewards U.S. restaurant chains, firms in
rural states”, April 17, 2020, Reuters, available at: https://www.reuters.com/article/us-health-coronavirus-usa-
lending-analys/main-street-bailout-rewards-us-restaurant-chains-firms-in-rural-states-idUSKBN21Z3FL.
30
   Id.
31
   Peter Rudegeair, Heather Haddon and Ruth Simon “Ruth’s Chris to repay loan amid outcry over rescue
program”, updated April 23, 2020, The Wall Street Journal, available at: https://www.wsj.com/articles/public-
companies-have-to-repay-small-business-rescue-loans-11587670442.
32
   Luisa Beltran “Restaurant chains received many of the biggest PPP loans, updated April 23, 2020, Barron’s,
available at: https://www.barrons.com/articles/restaurant-chains-received-many-of-the-biggest-ppp-loans-
51587573556.
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total of $750 million through PPP.33 Since it became known that large companies had been

benefitting from PPP, the SBA published additional guidance emphasizing that businesses may

only apply for the loan if, in good faith, they can certify that “[c]urrent economic uncertainty

makes this loan request necessary to support the ongoing operations of the Applicant,” and that

public companies with “substantial market value” are unlikely to be able to make such a

certification.34 Companies who received the loan before this guidance and repay it before May 7,

2020 will be deemed to have certified in good faith.35


        The manner in which PPP was offered to the public and the complexity of its terms and

conditions may have contributed to a lack of success for many small business owners. Although

the program began accepting applications on Friday, April 3, 2020, some large banks refused to

participate at first, citing a lack of guidance from the federal government.36 When more banks

did begin to accept applications, there was confusion regarding what conditions the banks could

apply. SBA authorized a last-minute raise from half a percent to a one percent interest rate,

reportedly to address concerns from banks about being unable to service the loans at an interest

rate of only half a percent.37 Further, some large banks attached unexpected conditions to their


33
   Jessica Silver-Greenberg, David Enrich, Jesse Drucker and Stacy Cowley “Large, troubled companies got bailout
money in small-business loan program”, April 26, 2020, The New York Times, available at:
https://www.nytimes.com/2020/04/26/business/coronavirus-small-business-loans-large-companies.html.
34
   United States Small Business Administration “Paycheck Protection Program Loans: Frequently Asked Questions
(FAQs)” updated April 23, 2020, https://home.treasury.gov/system/files/136/Paycheck-Protection-Program-
Frequently-Asked-Questions.pdf.
35
   Id.
36
   Brian Thompson “No small-business relief yet: False start on Paycheck Protection Program loans”, April 3, 2020,
Forbes, available at: https://www.forbes.com/sites/brianthompson1/2020/04/03/no-small-business-relief-yet-
false-start-on-paycheck-protection-program-loans/#163172d034c4.
37
   “SBA increases rate, clarifies terms on Paycheck Protection Program loans”, ABA Banking Journal, April 2, 2020,
https://bankingjournal.aba.com/2020/04/treasury-sba-to-increase-rate-on-paycheck-protection-program-loans/;
Michela Moscufo “How to get, and give, Paycheck Protection Program loans through the SBA”, April 3, 2020,
Forbes, available at: https://www.forbes.com/sites/michelamoscufo/2020/04/03/how-to-get-and-give-paycheck-
protection-program-loans-through-the-sba/#3f766faa27e8.
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applications, like having a previous banking relationship with them before February 15, 2020. 38

A few weeks after the lending program began, it ran out of funds,39 seemingly validating

concerns from some experts that the program was not sufficiently well-funded, or disbursing

funds quickly enough.40


        The federal government’s EIDL program quickly experienced funding shortages as well.

For many applicants, a cap of $2 million per borrower was significantly reduced to $15,000. 41

Furthermore, although the program was touted as featuring a quick turnaround on payments,

many applicants waited weeks for approval and found that the amount disbursed to them was

much less than the initial approval amount.42 In a survey of 885 small business owners conducted

by the National Federation of Independent Business the day after the SBA’s EIDL and PPP

programs ran out of funds, 80 percent were still waiting to hear about their loan applications.43


        Immigrant communities in NYC may have had even more difficulty applying to and

obtaining federal funds, which would considerably impact the City’s economy. Immigrant


38
   See e.g. Bank of America “Small Business Administration Paycheck Protection Program application” available at:
https://about.bankofamerica.com/promo/assistance/latest-updates-from-bank-of-america-coronavirus/small-
business-assistance, (last visited April 8, 2020); JPMorgan Chase & Co “Paycheck Protection Programs FAQs &
useful tips”, available at: https://recovery.chase.com/cares1/ppp-faqs#accordion-1586386467723-1-panel, (last
visited April 8, 2020); and Wells Fargo “Small Business Administration Paycheck Protection Program”, available at:
https://update.wf.com/coronavirus/paycheckprotectionprogram/, (last visited April 8, 2020).
39
   Stephen Gandel “Paycheck Protection Program out of money: Thousands of small businesses shut out”, CBS
News, April 16, 2020, available at: https://www.cbsnews.com/news/paycheck-protection-program-out-of-money-
small-businesses-shut-out.
40
   Jim Tankersley “Virus throws millions out of work, and Washington struggles to keep pace”, April 9, 2020 The
New York Times, available at: https://www.nytimes.com/2020/04/09/business/coronavirus-unemployment-
washington.html?action=click&module=Top%20Stories&pgtype=Homepage.
41
   Stacy Cowley “Small Businesses Wait for Cash as Disaster Loan Program Unravels”, April 9, 2020, The New York
Times, available at: https://www.nytimes.com/2020/04/09/business/smallbusiness/small-business-disaster-loans-
coronavirus.html.
42
   Id.
43
   National Federation of Independent Business “80% of PPP applicants are still urgently waiting for financial
assistance” April 20, 2020, available at: https://www.nfib.com/content/press-release/economy/80-of-ppp-
applicants-are-still-urgently-waiting-for-financial-assistance.
                                                           -17-
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workers make up 45 percent of the city’s workforce44 and own one-half of New York City’s

businesses.45 In some neighborhoods, immigrant-owned businesses employ up to 42 percent of

the neighborhood population.46 Yet, there have been questions surrounding whether

undocumented immigrants can be eligible for the PPP program, since it requires an Employee

Identification Number or Social Security Number on its program application.47 The application

originally required business owners to be U.S. citizens or permanent residents.48 In the past, SBA

placed additional restrictions and requirements on access to loans for non-citizens.49


        In addition, certain features of the federal government’s PPP program may

disproportionately disadvantage minority business owners from obtaining loans. A loophole

allowing bank servicers to prefer businesses with a previous lending relationship may lead to the

exclusion of many minority businesses.50 Many microbusinesses in New York City may have not

previously applied for loans or lines of credit, and therefore may not have relationships with

local banks.51 The Congressional Black Caucus has recognized the “history and legacy” of racial

inequality in the banking system, and as banks default to lending to businesses to which they

44
   Mayor‘s Office of Immigrant Affairs “State of Our Immigrant City: Annual Report”, March 15, 2018, available at:
https://www1.nyc.gov/assets/immigrants/downloads/pdf/annual-report-2018.pdf.
45
   Id.
46
   Lena Afridi “The Displacement Crisis of Immigrant-Owned Small Businesses”, February 15, 2018, Shelter Force,
available at: https://shelterforce.org/2018/02/15/displacement-crisis-immigrant-owned-small-businesses/.
47
   United States Small Business Administration “Paycheck Protection Program: Borrower application form”,
effective April 3, 2020, available at: https://www.sba.gov/sites/default/files/2020-04/PPP-Borrower-Application-
Form-Fillable.pdf.
48
   See Emily Guerin “Massive Federal Loan Program for Small Businesses Off to Rocky Start”, April 3, 2020, LAist,
https://laist.com/2020/04/03/small_business_ppp_paycheck_protection_program_loans_stimulus_coronavirus.ph
p.
49
   See United States Small Business Administration “SBA Eligibility Questionnaire, for Standard 7(a) Guaranty”,
available at: https://www.sba.gov/sites/default/files/bank_eligibility_questionnaire_0.pdf; and Kimberly Rotter
and Dawn Papandrea “What Are SBA Loan Requirements?”, February 28, 2020, U.S. News & World Report,
available at: https://loans.usnews.com/complete-list-of-sba-loan-requirements.
50
   Mary Alice Parks “Minority-owned small businesses face unique, steep hurdles amid coronavirus cash crunch”,
April 8, 2019, ABC News, available at: https://abcnews.go.com/Health/minority-owned-small-businesses-face-
unique-steep-hurdles/story?id=70011898.
51
   Id.
                                                         -18-
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have lent money before, minority-owned businesses could be disproportionately denied and

excluded.52


        For those with access to COVID-19 funding programs, there are drawbacks to consider.

Although the federal government’s PPP program offers loan forgiveness, there are significant

conditions to satisfy. Seventy-five percent of the PPP loan’s forgiven amount must be spent on

payroll costs, a condition that appears to have taken shape late in the process.53 If 75 percent of

the forgiven amount must be spent on payroll costs, that may leave less for businesses to spend

on obligations such as rent and utilities, which may be disproportionately higher in our City.54

Some businesses may decide, and some have decided, that the program is too risky, or that it is

more valuable to their employees to lay them off, so that employees may collect a higher salary

through the federal government’s expanded unemployment insurance program.55 If a business

does not qualify for full forgiveness of the loan, PPP requires the small business owner to pay off

the loan within two years, after a six-month deferral.56 Small businesses in the City may be

concerned about being able to pay back these loans, and about being burdened with more debt.


        For many small businesses in the City, dealing with an unpredictable and contagious

virus that has already significantly disrupted the ability of many to earn revenue makes

52
   Id.
53
   United States Small Business Administration “Interim Final Rule: Business Loan Program Temporary Changes;
Paycheck Protection Program”, Issued April 2, 2020, available at:
https://home.treasury.gov/system/files/136/PPP--IFRN%20FINAL.pdf.
54
   Greg Iacurci “Your Forgivable Loan May Be Undercut by This Provision of the Paycheck Protection Program”,
updated April 9, 2020, CNBC, available at: https://www.cnbc.com/2020/04/07/this-part-of-paycheck-protection-
program-could-reduce-forgivable-loans.html.
55
   Jim Tankersley “Virus Throws Millions Out of Work, and Washington Struggles to Keep Pace”, April 9, 2020, The
New York Times, available at: https://www.nytimes.com/2020/04/09/business/coronavirus-unemployment-
washington.html?action=click&module=Top%20Stories&pgtype=Homepage.
56
   United States Small Business Administration “Paycheck Protection Program”, available at:
https://www.sba.gov/funding-programs/loans/coronavirus-relief-options/paycheck-protection-program.
                                                        -19-
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borrowing money a risky endeavor. With the exception of SBS’s Employee Retention Grant

Program, which was only available for the smallest of City businesses (1-4 employees), almost

all the funding available to businesses have taken the form of loans. There are concerns about

whether the City’s economy will strengthen quickly enough to satisfy the terms of these loans,

and businesses might struggle to pay off additional debt (even at low or no interest rates) after

this sustained period of closure and reduced income. A 2019 survey conducted by the Federal

Reserve found that as many as 70 percent of small businesses have outstanding debt.57 Similarly,

a 2016 JPMorgan study concluded that most small businesses did not have enough cash reserves

to carry them through a significant economic downturn, with the median independent restaurant

having only enough extra cash to last them 16 days.58


         b. New York State Assistance

         In addition to closing 100 percent of non-essential businesses statewide, the PAUSE

executive order provides a 90-day moratorium on residential and commercial evictions.59 Since

commercial rent is typically the largest cost and greatest concern for business owners,60 the 90-

day moratorium provides short-term relief to businesses. The Governor’s moratorium on




57
   Federal Reserve Banks “Small Business Credit Survey: 2019 Report on Employer Firms”, available at:
https://www.fedsmallbusiness.org/medialibrary/fedsmallbusiness/files/2019/sbcs-employer-firms-report.pdf. Also
see Bridget Bartolini “City’s Small Businesses Need Rent Stabilization to Survive COVID-19, Advocates Say”, April 6,
2020, City Limits, available at: https://citylimits.org/2020/04/06/citys-small-businesses-need-rent-stabilization-to-
survive-covid-19-advocates-say.
58
   See Bridget Bartolini, id.
59
   Governor Andrew M. Cuomo “Video, Audio, Photos & Rush Transcript: Governor Cuomo Signs the “New York
State on Pause” Executive Order”, March 20, 2020, https://www.governor.ny.gov/news/video-audio-photos-rush-
transcript-governor-cuomo-signs-new-york-state-pause-executive-order.
60
   Association for Neighborhood & Housing Development “The Forgotten Tenants: New York City’s Immigrant Small
Business Owners”, March, 2019), available at: https://anhd.org/report/forgotten-tenants-new-york-citys-
immigrant-small-business-owners.
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commercial rent is only for a 90-day period, however, and there is currently little guidance over

whether evictions will resume after the 90 days is over.

        Beyond the Governor’s Executive Order pausing commercial evictions, New York State

is not currently administering any specific programs to provide relief to small businesses. NYS’s

Empire State Development (ESD) has information on its website about the SBA’s COVID-19

loan programs, including resources on how businesses can apply for relief.61 ESD’s website

directs businesses to other existing relief efforts as well, such as a pro bono legal advice service

for small businesses applying for the Paycheck Protection Program.62

        c. New York City Assistance

        Support for New York City’s small businesses from local government has been provided

in numerous ways. Financial aid, through loans and grants programs, has been offered through

the Department for Small Business Services (SBS). Meanwhile, the Department of Consumer

and Worker Protection (DCWP) has also provided assistance by reducing regulatory burdens

through pausing some of the fees that it administers and extending deadlines for various

renewals.

Small Business Services

        On March 8th, Mayor de Blasio announced that SBS would create two financial relief

programs, the Employee Retention Grant Program and Small Business Continuity Loan Fund, to




61
   Empire State Development “Apply for Small Business Administration (SBA) COVID-19 Loans”, available at:
https://esd.ny.gov/small-business-administration-sba-covid-19-loans.
62
   Id.
                                                      -21-
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provide financial relief to small businesses during the crisis.63 To qualify for either program,

businesses were required to provide documentation proving that over a two-month period in

2020 their revenues decreased by 25 percent due to COVID-19.64 Businesses with fewer than

five employees were eligible for the Employee Retention Grant Program, which provided a grant

covering up to 40 percent of a business's payroll for two months, with a maximum amount of

$27,000.65 On April 3rd, SBS stopped accepting applications to the grant program.66 The Small

Business Continuity Loan Fund provided a zero-interest loan to businesses with fewer than 100

employees for up to $75,000.67 As of April 8th, SBS paused application intake for the loan fund

due to an overwhelming number of applications. Accordingly, small businesses in NYC can

now only apply to the SBA programs to receive necessary financial relief.68

        According to SBS, the NYC Employee Retention grant program provided assistance

to 1,200 small businesses. SBS allocated $10 million to the program, and small businesses

received an average amount of $7,800.69 SBS is expecting to give out $20 million in loans

through the Small Business Continuity Loan Fund. Before the fund closed online applications on



63
   Office of the Mayor “Mayor de Blasio Provides Updates on New York City's COVID-19 Response”, March 8, 2020,
available at: https://www1.nyc.gov/office-of-the-mayor/news/124-20/mayor-de-blasio-provides-on-new-york-
city-s-covid-19-response.
64
   Id.
65
   NYC Department of Small Business Services “NYC Employee Retention Grant Program”, (as of April 2, 2020),
available at: https://www1.nyc.gov/nycbusiness/article/nyc-employee-retention-grant-program. Program
information is still available at: https://www.paulweiss.com/media/3979874/nyc2-employee-retention-grant-
program-summary_4-6.pdf.
66
   Id.
67
   NYC Department of Small Business Services “NYC Small Business Continuity Loan Program”, (as of April 7, 2020)
available at: https://www1.nyc.gov/nycbusiness/article/nyc-small-business-continuity-loan-program. Program
Information still available at: https://www.natlawreview.com/article/nyc-financial-assistance-businesses-
impacted-covid-19
68
   Id.
69
   Sophia Chang, “Funds Are Coming For Small Businesses, But Some Will Have To Wait”, April 1, 2020, Gothamist,
available at: https://gothamist.com/news/funds-are-coming-small-businesses-some-will-have-wait.
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April 5th, over 15,000 businesses initially applied, and 8,500 businesses completed

applications.70

         However, some city advocates have raised concerns about access to these funds. SBS

was swift to offer their grant and loan programs, acting quickly to bridge an important funding

gap before the federal government established their own, but the rollout was flawed. The

program initially required business owners to supply documentation demonstrating a drop in

revenue in the two consecutive months of 2020, when the full effects of COVID-19 were not yet

felt by many businesses.71 The program eventually allowed business owners to supply

information for March 2020, which may have allowed many more business to be eligible.72 It

was also unclear whether non-profit organizations were eligible for SBS’s programs, until the

website reflected that non-profits were eligible for the Employee Retention Grant Program, but

not the Small Business Continuity Loan Fund.73 While applications were quickly accepted for

the Employee Retention Grant Program, the Fund was not available for weeks afterward, and the

website confusingly displayed a “Pre-Application” form that did not actually register anyone for

consideration to receive funds.74 Some users felt that SBS had not provided clear information on


70
   Id.
71
   Moshe Schulman, Alexis Percival and Patrick Cournot “The Paycheck Protection Program Is Failing: Small
Businesses Such as Ours Won’t Survive without a Lot More Help”, April 16, 2020, The Atlantic, available at:
https://www.theatlantic.com/ideas/archive/2020/04/relief-small-business/610066/, (“Last month, de Blasio
announced a $75,000 interest-free loan available to local businesses that could prove a 25 percent decrease in
sales over a two-month period in comparison with sales in the same two months in 2019. Only recently did we
meet the threshold, since our drop-off was so sudden, starting in the second week of March, unlike restaurants in
Chinatown, for instance, that closed in February. As of last week, applications were closed. Our attorneys think
they can push ours through since they created an account in time, but the money is presumed to have dried up.”)
72
   See NYC Department of Small Business Services “Participation Affidavit”, available at:
https://www1.nyc.gov/html/sbs/downloads/pdf/COVID19_SBCL_participation_affidavit_form.pdf.
73
   See NYC Department of Small Business Services “Assistance & Guidance for Businesses Impacted Due to Novel
Coronavirus”, available at: https://www1.nyc.gov/site/sbs/businesses/covid19-business-financial-assistance.page
(last viewed on April 24, 2020). Page has since been updated to reflect the fact that the programs are no longer
being offered.
74
   See id.
                                                         -23-
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the terms of their programs, and that the online application process contained many technical

glitches.75 One user claimed to have lost her application entirely after the SBS website crashed. 76


         Small business owners who are not conversant in English may have had difficulty

understanding the terms and conditions, and how to apply to the programs, without materials

available in other languages. SBS took weeks to translate application materials on their website,

and even then only translated certain materials, with text on the website being translated by

browser tools.77 Further, it is unknown how much outreach was done to immigrant communities

through representative organizations or otherwise.


         Some critics felt that the requirements for the Employee Retention Grant Program were

not inclusive enough. Eligibility was limited, with only the very smallest businesses employing

1-4 people able to receive a grant.78 This may have excluded many restaurants, since they may

typically employ more than four personnel, such as a manager, servers, bus staff, cooks and

hosts.




75
   Sophia Chang, “Funds Are Coming For Small Businesses, But Some Will Have To Wait”, April 1, 2020, Gothamist,
available at: https://gothamist.com/news/funds-are-coming-small-businesses-some-will-have-wait.
76
   Id.
77
   See NYC Department of Small Business Services “Assistance & Guidance for Businesses Impacted Due to Novel
Coronavirus”, available at: https://www1.nyc.gov/site/sbs/businesses/covid19-business-financial-assistance.page
(last viewed on April 24, 2020). Page has since been updated to reflect the fact that the programs are no longer
being offered, but materials had not been translated as of March 20, 2020. See also a tweet publicizing an SBS
guide in languages other than English from NYC Mayor’s Office of Immigrant Affairs, March 24, 2020, available at:
https://twitter.com/NYCImmigrants/status/1242484476057354240. Re-tweeted by NYC Department of Small
Business Services on March 24, 2020, available at: https://twitter.com/nyc_sbs.
78
   NYC Department of Small Business Services “NYC Employee Retention Grant Program”, (as of April 2, 2020),
available at: https://www1.nyc.gov/nycbusiness/article/nyc-employee-retention-grant-program. Program
information is still available at: https://www.paulweiss.com/media/3979874/nyc2-employee-retention-grant-
program-summary_4-6.pdf.
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        In the midst of struggles and confusion regarding SBS’s grant and loan programs, the

programs abruptly ended without much notice.79 This may have closed the door on many small

businesses who had intended to apply for the programs, but did not have a chance to do so, or

were not yet able to gather the necessary documentation materials. Some users claimed that SBS

failed to communicate the most basic aspect of the programs: that funds were limited and that

time was of the essence.80 One user termed it a “lottery” and expressed frustration that business

decisions were made based upon the programs’ promises.81 According to one SBS loan

processer, the programs may have had as much as half a billion dollars in loan requests, and only

$20 million in funds to provide.82 Despite getting at least 600 applications for the SBS loan

program, the funding may have only been enough to provide loans for 250 to 400 businesses.83

Council Speaker Corey Johnson has called for an expansion of the program from a maximum of

$75,000 per business to $250,000 per business.84


Department of Consumer and Worker Protection

        In addition to financial assistance through loans and grants, City support for small

businesses has also come through DCWP. DCWP licenses more than 75,000 businesses in more

than 50 industries and enforces key consumer protection, licensing, and workplace laws that




79
   Rachel Holliday Smith “Half a Billion Dollars’ Needed from $20M City Small Business Loan Pool”, April 16, 2020,
The City, available at: https://thecity.nyc/2020/04/de-blasios-usd20m-nyc-small-business-loan-program-falls-
short.html.
80
   Id.
81
   Id.
82
   Id.
83
   Id.
84
   New York City Council “New York City Council Speaker Corey Johnson Proposes $12 Billion Relief Plan to Help
Workers and Businesses Impacted by COVID-19”, March 19, 2020, available at:
https://council.nyc.gov/press/2020/03/19/1888/.
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apply to countless more. DCWP regularly plays a key role in city initiatives involving small

businesses.

        As the COVID-19 crisis continues to unfold, DCWP has announced several measures to

assist small businesses by alleviating various regulatory burdens. In March 2020, DCWP ceased

collecting sidewalk café consent fees that were due and, shortly thereafter, commenced refunds

for restaurants that had already paid their fees.85 Though sidewalk café consent fees vary

depending on the size, location, and whether it is enclosed or unenclosed, they typically cost

restaurants thousands of dollars.86 There are approximately 1,400 sidewalk cafes in the City,

representing an annual revenue of between $11 million to $12 million. Most restaurants pay

these fees in a four-part installment plan over a one-year period at a monthly interest rate of 1.5

percent.87 Three installments remain for the year, and restaurants could still be required to pay

the remaining installments if the state of emergency is lifted. Given the significant losses many

restaurants have suffered; some restaurants may not have the ability to cover any remaining

payments that come due.

        DCWP also extended renewal deadlines for most licenses that expire during the pendency

of the state of the emergency.88 The Mayor subsequently issued an emergency executive order




85
   Mayor’s Executive Emergency Order No. 105, April 4, 2020, available at:
https://www1.nyc.gov/assets/home/downloads/pdf/executive-orders/2020/eeo-105.pdf.
86
   See NYC Department of Consumer Affairs “2018 consent fees for street space: For unenclosed and small
unenclosed sidewalk café”, available at: https://www1.nyc.gov/assets/dca/downloads/pdf/businesses/Sidewalk-
Cafe-Consent-Fees.pdf.
87
   R.C.N.Y. §2-45.
88
   NYC Department of Consumer Affairs “Does your consumer affairs license expire February through June 2020?”,
available at: https://www1.nyc.gov/assets/dca/downloads/pdf/businesses/Does-Your-Consumer-Affairs-License-
Expire-February-through-June-2020.pdf.
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extending deadlines for all city licenses and permits.89 However, some city agencies still appear

to be requiring businesses to renew their permits, creating some confusion in certain industries.90

        The declaration of the state of emergency has also led to an uptick of businesses and

workers alike reaching out to DCWP for assistance with regard to the City’s worker protection

laws, including the Fair Workweek Law, Paid Safe and Sick Leave Law, and the Temporary

Schedule Change Law. In response, DCWP published guidance specific to addressing employer

obligations during the COVID-19 state of emergency. The guidance also included information

on state and federal employment laws.91 However, some industries have criticized the Mayor for

not suspending enforcement of the Fair Workweek and Temporary Schedule Change Laws

entirely. The National Restaurant Association argued that businesses cannot afford premium pay

for last minute schedule changes, which are necessary in light of employees falling ill and

sudden decreased staffing needs.92

        On March 17, 2020, DCWP promulgated an emergency Rule under the City’s Consumer

Protection Law that makes price gouging illegal for any personal or household good or any

service that is needed to prevent or limit the spread of or treat COVID-19.93 Leading up to the

state of emergency, the agency received almost 1,000 complaints of price gouging on items such

89
   Mayor’s Emergency Executive Order No. 107, § 4, April 14, 2020, available at:
https://www1.nyc.gov/assets/home/downloads/pdf/executive-orders/2020/eeo-107.pdf.
90
   See e.g. Department of Buildings, “COVID-19 Response: Administrative Enforcement (AEU)
and Licensing Units Updates,” available at: https://www1.nyc.gov/assets/buildings/pdf/covid19_aeu-
licensing_response_sn.pdf.
91
   NYC Department of Consumer and Worker Protection “Update about Workplace Laws as NYC Seeks to Stop the
Spread of the New Coronavirus (COVID-19)”, available at:
https://www1.nyc.gov/assets/dca/downloads/pdf/workers/Complying-with-NYC-Workplace-Laws-During-COVID-
19.pdf.
92
   Letter from Keith Stephenson, National Restaurant Association, to Mayor de Blasio (March 20, 2020), on file.
93
   NYC Department of Consumer Affairs “Department of Consumer and Worker Protection issues emergency rule
that makes price gouging illegal for any item or service needed to limit the ppread of Coronavirus”, March 17,
2020, available at: https://www1.nyc.gov/site/dca/media/pr031720-DCWP-Emergency-Rule-Price-Gouging-
Illegal.page.
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as hand sanitizer and masks. By April 8th, the Department had received more than 7,200

complaints and had issued 2,700 violations.94 While many of these violations have been issued to

egregious offenders,95 some businesses have raised concerns that DCWP is failing to address

price gouging in the supply chain by wholesalers.96

        3. Industry Challenges During COVID-19

        The various governmental approaches to support small businesses during this crisis have

provided some measure of relief for small business owners and their employees; however, there

are range of outstanding issues that continue to make operating a business during the pandemic

particularly difficult. The vast array of departments and agencies have made it difficult for

businesses to navigate and, as discussed, there have been numerous limitations to the

government programs that are further compounded by the technological and language barriers

that some small business owners also face. This comes on top of the other issues that small

businesses have to navigate during this crisis range from trying to make rent and payroll, finding

suppliers and moving retail online, to negotiating insurance claims, delivery commissions, and

bank loans.

        a. Debt Collection

        Businesses who experience a drop in revenue due to COVID-19 may face added legal

pressure to meet financial obligations. Commercial leases may contain provisions imposing
94
   Priscilla DeGregory “NYC files law suits against stores for coronavirus price gouging”, April 8, 2020, New York
Post, available at: https://nypost.com/2020/04/08/nyc-files-lawsuits-against-stores-for-coronavirus-price-
gouging/.
95
   Andrew Denney “ Coronavirus in NY: UES pharmacy fines for drastically marking up face masks”, March 25, 2020,
available at: https://nypost.com/2020/03/25/coronavirus-in-ny-ues-pharmacy-fined-for-drastically-marking-up-
face-masks/.
96
   Priscilla DeGregory “NYC files law suits against stores for coronavirus price gouging”, April 8, 2020, New York
Post, available at: https://nypost.com/2020/04/08/nyc-files-lawsuits-against-stores-for-coronavirus-price-
gouging/.
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personal liability on the tenant for non-payment of rent. These personal guarantees can make the

business, which may otherwise shield the owner from liability due to its corporate structure,

answerable in a court of law for any unpaid debts or damages.97 Similarly, businesses who have

signed confessions of judgment in exchange for cash advances may be on the hook for unpaid

debts. In these documents, businesses sign away their legal right to contest claims against them

for non-payment, and these documents may be used to effectuate a judgment against them.98

Although the dangers of this practice were brought to light last year during an examination of

taxi medallion loans,99 and New York State subsequently banned the practice for out-of-state

debtors,100 the issue remains for New York City businesses.101 Without recourse, landlords and

debt servicers may resort to threats, which continues to make protecting businesses from

harassment an important issue as the City grapples with the effects of COVID-19.

        b. Third-Party Delivery Platforms

        Before the spread of COVID-19, online food delivery services were becoming an

increasingly popular way for consumers to dine. Online restaurant orders have grown 23 percent



97
   See NYC Department of Small Business Services “Comprehensive Guide to Commercial Leasing in New York City”
available at: https://www1.nyc.gov/assets/sbs/downloads/pdf/about/reports/commercial-lease-guide-
accessible.pdf, p. 22; and Hayden Field “5 most common red flags entrepreneurs should know before signing a
commercial real estate lease in New York”, June 6, 2019, Entrepreneur, available at:
https://www.entrepreneur.com/article/334848.
98
   See Rachel Holliday Smith, Christine Chung, Gabriel Sandoval and Josefa Velasquez “New York businesses
struggle with debts after reform left them out”, February 25, 2020, The City, available at:
https://thecity.nyc/2020/02/ny-businesses-struggle-with-debts-after-reform-shut-them-out.html.
99
   Brian M. Rosenthal “‘They were conned’: How reckless loans devastated a generation of taxi drivers”, May 19,
2019, The New York Times, available at: https://www.nytimes.com/2019/05/19/nyregion/nyc-taxis-medallions-
suicides.html.
100
    See N.Y. CPLR § 3218; Dan M. Clark “NY Gov. Cuomo Signs Measure to Curb Creditors' Abuse of Confessions of
Judgment”, August 30, 2019, Law.com, available at: https://www.law.com/newyorklawjournal/2019/08/30/ny-
gov-cuomo-signs-measure-to-curb-creditors-abuse-of-confessions-of-judgment/.
101
    Rachel Holliday Smith, Christine Chung, Gabriel Sandoval and Josefa Velasquez “New York businesses struggle
with debts after reform left them out”, February 25, 2020, The City, available at: https://thecity.nyc/2020/02/ny-
businesses-struggle-with-debts-after-reform-shut-them-out.html.
                                                         -29-
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annually from 2013 to 2017,102 and UBS predicts that by 2030, the global online food ordering

market could grow to $365 billion, up from $35 billion in 2018.103 A 2019 survey conducted by

the National Restaurant Association found that 60 percent of consumers ordering takeout used a

third-party delivery service.104

        The four major third-party delivery platforms utilize different commission models to

remain profitable in this overcrowded and competitive marketplace. Grubhub is the largest

platform operating in New York City, accounting for over 60 percent of meal delivery sales.105

Grubhub charges restaurants a 10 percent fee for all orders delivered by a Grubhub courier,106

and charges restaurants higher commissions in exchange for increased visibility on their

platform.107 Uber Eats and DoorDash account for around 17 percent of City meal delivery

sales.108 Uber Eats charges restaurants a 30 percent fee for orders delivered by Uber couriers,109

and a 15 percent fee for orders that are made on the Uber Eats website but delivered by a


102
    The NPD Group “Feeding the growing appetite for restaurant apps,
https://www.npd.com/wps/portal/npd/us/news/infographics/2018/feeding-the-growing-appetite-for-restaurant-
apps/.
103
    USB Investment Bank “Is The Kitchen Dead?”, June 18, 2018, available at:
https://www.ubs.com/global/en/investment-bank/in-focus/2018/dead-kitchen.html
104
    Hudson Riehle and Melissa Wilson “Harnessing Technology to Drive Off-Premises Sales”, 2019, National
Restaurant Association, available at:
https://www.restaurant.org/Downloads/PDFs/Research/research_offpremises_201910.
105
    Kathryn Roethel Rieck, “Which company is winning the food delivery war?”, April 21, 2020, Second Measure,
available at: https://secondmeasure.com/datapoints/food-delivery-services-grubhub-uber-eats-doordash-
postmates/
106
    Grubhub “Grubub Pricing”, available at: https://learn.grubhub.com/wp-
content/uploads/2018/08/Grubhub_One-Pager_Pricing-Overview_Final.pdf
107
    David Yaffe-Bellany, “New York vs. Grubhub”, September 30, 2019, The New York Times, available at:
https://www.nytimes.com/2019/09/30/business/grubhub-seamless-restaurants-delivery-apps-fees.html
108
    Kathryn Roethel Rieck, “Which company is winning the food delivery war?”, April 21, 2020, Second Measure,
available at: https://secondmeasure.com/datapoints/food-delivery-services-grubhub-uber-eats-doordash-
postmates/.
109
    Julie Littman “Delivery by the numbers: How top third-party platforms compare”, October 3, 2019, Restaurant
Dive, available at: https://www.restaurantdive.com/news/delivery-by-the-numbers-how-top-third-party-
platforms-compare/564279/.
                                                        -30-
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restaurant’s delivery worker.110 Doordash charges restaurants promotion fees, marketing fees,

and subscription fees.111 Similar to Grubhub, DoorDash charges restaurants a commission fee “in

exchange for promoting and featuring the Merchant…on the DoorDash Platform,” and for all

orders delivered by DoorDash couriers (know as “Dashers”).112 Postmates accounts for just

under five percent of delivery sales in the City.113 Under the Postmates model, restaurants do not

pay a fee for using Postmates couriers, but pay a standard commission fee “based on the contract

signed” by the restaurant upon joining the platform.114

        While third-party delivery platforms provide restaurants a unique marketing and delivery

service, small businesses have accused these platforms of acting in a predatory manner. In 2018,

a class action lawsuit was filed in the United States District Court for the Eastern District of

Philadelphia against Grubhub. According to the plaintiff, an owner of a local Indian restaurant

chain, Grubhub had committed wrongful conduct, including, but not limited to, “withholding

commissions for sham telephone food orders, depriving more than 80,000 restaurants of

revenues and profits that rightfully belong to them.”115 Another class action lawsuit was filed in

the United States District Court for the Southern District of New York in April 2020 against all

four third-party delivery platforms.116 The lawsuit alleges that all third-party delivery platforms

have violated U.S. antitrust law by requiring restaurants to charge delivery customers and dine-in

110
    Uber “How do fees work on Uber Eats”, available at: https://help.uber.com/ubereats/article/how-do-fees-
work-on-uber-eats?nodeId=65d229e2-a2b4-4fa0-b10f-b36c9546cf55
111
    DoorDash “Terms of Service - United States DoorDash Merchants”, available at:
https://help.doordash.com/merchants/s/terms-of-service-us?language=en_US#payment-fees-and-taxes
112
    Id.
113
    Id.
114
    Postmates “Payment FAQ”, available at: https://support.postmates.com/merchant/articles/226618648-article-
Payment-FAQ
115
    TIFFIN EPS, LLC v. GrubHub, Inc, 2:18-cv-05630-PD, Complaint, p. 2l.5., available at: https://cdn.vox-
cdn.com/uploads/chorus_asset/file/16288289/Grubhub_lawsuit.pdf.
116
    The four platforms are Grubhub Inc. (which also does business as Seamless), DoorDash Inc., Postmates Inc., and
Uber Technologies, Inc., which is the parent company of Uber Eats.
                                                        -31-
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customers the same price for each menu items, while imposing “exorbitant” fees of 10 percent to

40 percent of revenue to process delivery orders.117 The City Council has conducted two

oversight hearings this legislative session on the rise of third-party delivery platforms in the

City.118 During these hearings, small businesses and advocates have highlighted issues they

experienced from using these platforms, including high commission fees, restrictions on menu

pricing, and erroneous fees they are forced to pay from consumer phone calls that do not result in

orders.119

        Due to the stay-at-home orders issued across the country and the inability for customers

to dine-in at restaurants, third-party delivery services are likely to further increase their profits

during the COVID-19 pandemic. Governor Cuomo’s Executive Order 202.6 limited restaurants

to take-out and delivery only,120 leading restaurants to join third-party delivery platforms to

maintain business. The administration issued an updated COVID-19 related guidance sheet for

business owners on March 16th, advising restaurants and food services to join food delivery

platforms.121 The issues restaurants typically experience while operating on a third-party delivery

platform are likely to become more common as restaurants shift their businesses to this model.



117
    Jonathan Stempel, “Grubhub, DoorDash, Postmates, Uber Eats are sued over restaurant prices amid pandemic”
April 13t, 2020, Reuters, available at: https://www.reuters.com/article/us-health-coronavirus-food-delivery-laws-
idUSKCN21V2C1.
118
    New York City Council “Oversight – The Changing Market for Food Delivery”, June 6, 2019, available at:
https://legistar.council.nyc.gov/MeetingDetail.aspx?ID=705634&GUID=0BC09A92-5DB4-496B-90EE-
BF75DF712131&Options=info|&Search=; and New York City Council “Oversight: ‘Ghost Kitchens’ ‘Virtual
Restaurants’ and the Future of the Restaurant Industry”, February 6, 2020, available at:
https://legistar.council.nyc.gov/MeetingDetail.aspx?ID=759804&GUID=B42220FE-417A-484C-B7CF-
51725F784A71&Options=info|&Search=
119
    Id.
120
    Empire State Development “Guidance for determining whether a business enterprise is subject to a workforce
reduction under recent executive orders,” available at: https://esd.ny.gov/guidance-executive-order-2026
121
    Flatiron District “Guidance for business owners – Updated March 16, 2020: Tips for addressing changes in
customer behavior due to the Novel (New) Coronavirus (COVID19)”, available at:
                                                         -32-
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        Third-party platforms have acknowledged that high commission fees are unsustainable

for restaurants during COVID-19. During an interview with MarketWatch, Grubhub CEO Matt

Maloney was asked whether restaurants could survive on deliveries alone during the pandemic.

Maloney responded, “Not in the long-term. The industry isn’t large enough for all restaurants to

survive just on delivery, but they can survive for a matter of weeks potentially. It’s definitely not

a long-term solution to bridge across restaurants.”122 Maloney meanwhile acknowledged that the

pandemic has led Grubhub to expand their business: “We’ve received 10 to 15 times our usual

new restaurant leads. This interest has led to four to five times more new restaurant go-lives

compared to our previous record-breaking day.”123

        While third-party delivery platforms may profit from the global health pandemic, they

have implemented COVID-19 related programs to help benefit local businesses. Grubhub

announced a program deferring commission fees for impacted independent restaurants to

increase restaurants’ cash flow.124 Uber Eats has waived the delivery fee on all orders for over

100,000 independent restaurants.125 Doordash is reducing commission fees by 50 percent for

over 150,000 restaurants in the U.S., Canada and Australia,126 and offering new restaurants the




https://www.flatirondistrict.nyc/uploaded/files/COVID-19/COVID-
19%20Guidance%20for%20Business%20Owners%20-%XXX-XX-XXXX.pdf
122
    Elisabeth Buchwald, “Restaurants can’t survive on delivery alone, says Grubhub CEO Matt Maloney”, March 23,
2020, MarketWatch, available at: https://www.marketwatch.com/story/restaurants-wont-be-able-to-survive-on-
delivery-only-says-grubhub-ceo-matt-maloney-2020-03-21
123
    Id.
124
    Grubhub “COVID-19 Impact, Delivery Safety and Supporting Local Restaurants”, March 18, 2020, available at:
https://blog.grubhub.com/health-and-safety
125
    Uber “A company that moves people is asking you not to move”, available at:
https://www.uber.com/au/en/coronavirus/?_ga=2.191168042.1434603565.1587677057-
1914018361.1587677057
126
    DoorDash “The latest on Coronavirus (COVID-19)”, available at: https://get.doordash.com/covid-
updates#businesses
                                                        -33-
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ability to join their platform and pay zero commissions for 30 days. 127 Postmates is temporarily

waiving commission fees for businesses in the San Francisco Bay Area, LA, Sacramento and

Detroit.128

        While each platform has developed programs to aid restaurants during the pandemic, it

remains unclear whether these campaigns are providing restaurants relief. Grubhub announced a

program in early April, Supper for Support, offering customers $10 off on orders over $30 every

day from 5:00-9:00 pm.129 However, Grubhub continued to charge restaurants during this

promotion “on the non-discounted product rather than the amount paid by the customer.”130

        To ensure restaurants can remain profitable throughout the pandemic while operating on

these platforms, municipalities sought to cap the fees third-party delivery platforms charge

restaurants. Chicago City Council Member Scott Waguespack introduced an ordinance making it

unlawful for a third-party food delivery service to charge a covered establishment a fee that

totals more than five percent of per online order.131 Mayor London Breed of San Francisco

similarly issued a mayoral declaration making it unlawful for a third-party delivery service to

charge restaurants “a fee per online order for the use of its service that totals more than 15

percent of the purchase price of such online order.”132 The Mayor’s cap will remain in effect


127
    DoorDash “COVID-19 merchant financial assistance”, available at:
https://help.doordash.com/merchants/s/article/COVID-19-Merchant-Financial-Assistance?language=en_US
128
    Postmates “Postmates Coronavirus (COVID-19) Response”, March 16 2020, available at:
https://blog.postmates.com/postmates-coronavirus-covid-19-response-94eef5b1bbc2
129
    Grubhub “Supper for support”, April 3, 2020, available at: https://blog.grubhub.com/support-local-restaurants
130
    Grubhub “Grubhub for restaurants”, available at: https://lp.grubhub.com/supper-for-support-terms-
conditions-4-15-f/
131
    City of Chicago Office of the City Clerk “Ordinance”, April 22, 2020, available at:
https://files.constantcontact.com/58ea69d3101/e58501f0-4a68-4625-b689-f14570f4cde6.pdf
132
    Office of the Mayor San Francisco, London N. Breed “Ninth Supplement to Mayoral Proclamation Declaring the
Existence of a Local Emergency Dated February 25, 2020”, available at:
https://sfmayor.org/sites/default/files/NinthMayoralSupplement.pdf
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through the remainder of the local emergency, or until businesses are permitted to reopen for

dine-in services, whichever comes first.133 The Hospitality Alliance has similarly been calling for

New York City to cap commission fees on third-party delivery platforms to 10 percent per

order.134

III.    CONCLUSION

        While many of SBS and DCWP’s COVID-19 initiatives are positive steps serving the

interests of consumers, workers and small businesses, this hearing represents an opportunity for

both departments and industry representatives alike to address concerns and potential areas for

improvement. The Council seeks to gain a better understanding of the issues City small business

owners are experiencing as a consequence of COVID-19, and how effective the Administration

has been in offering support. The Council is also interested in learning about what the future

small business landscape may look like in the City after social restrictions are lifted, and what

types of relief will be necessary to ensure this sector of the City’s economy remains vibrant.

IV.     BILL ANALYSIS

        Int. No. 1846

        Int. 1846 requires food service establishments, retail stores and other commercial

businesses that deliver goods, to disclose to consumers such establishments’ gratuity policies for

delivery personnel. Section one of this bill adds a new Subchapter 7 to Title 20 of Administrative

Code titled “Delivery Workers.” New section 20-1271 sets out the definitions. New section 20-


133
    Eve Batey “San Francisco Emergency Order says delivery apps must cap restaurant fees at 15 percent”, April 10,
2020, Eater San Francisco, available at: https://sf.eater.com/2020/4/10/21216546/san-francisco-delivery-cap-
doordash-grubhub-uber-eats-postmates-caviar.
134
    See NYC Hospitality Alliance “Restaurant rescue & save nightlife plan”, available at:
https://thenycalliance.org/information/updated-9-point-mitigation-and-support-plan (last viewed on April 27,
2020).
                                                          -35-
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1272 requires food, retail and commercial establishments to disclose the following information

in relation to delivery worker gratuities prior to the consumer placing an order:


       1.      The proportion or fixed amount of each gratuity that is distributed to the worker

               who delivered the goods purchased, including whether such gratuity is required to

               be shared with other workers;


       2.      How gratuities are distributed to delivery workers, whether immediately or

               otherwise, and in what form of payment, whether cash or otherwise; and


       3.      The amount of each gratuity that is used to compose each delivery worker’s base

               wage.


       Where an establishment employs the services of a third-party delivery company, they are

required to provide the abovementioned information to such company to ensure compliance with

the gratuity disclosure requirements of this bill. New section 20-1273 prohibits establishments

and third-party delivery companies from providing inaccurate information in gratuity

disclosures. To prove accuracy and compliance, subdivision b of this section requires

establishments and third-party delivery companies to maintain records demonstrating the gratuity

disclosure was provided to the customer and the content of such disclosure. Such records must be

maintained for three years for each customer transaction. The civil penalties for any violations of

this bill are between $250 and $1,000 for each violation. Each calendar day during which a

person is found to have violated this subchapter shall be considered a separate violation, even if

such violation affects more than one customer. Civil penalties are recoverable at the Office of




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Administrative Trials and Hearings. If enacted, this local law would take effect 180 days after it

becomes law.


       Int. No. 1895

       This bill would require DOHMH to establish rules requiring restaurants to package food

destined for delivery in tamper-evident packaging to decrease the risk that food is tampered with

before reaching the customer. Violations would be punishable by a civil penalty of up to $100

for each violation.


       Int. No. 1896

       This bill would require that third-party delivery services, entities that provide restaurants

with online order and delivery services, disclose to consumers any commission, fees, or other

monetary payments imposed on participating restaurants, except that restaurants may decline the

disclosure of such information. Violations would be punishable by a civil penalty of not less than

$250 nor more than $1000 for each violation, which would accrue daily.

       Int. No. 1897

       This bill would require third-party delivery services, entities that provide restaurants with

online order and delivery services, to obtain a license in order to provide their service to

restaurants in the City. Application terms and fees would be determined by DCWP. The

department could refuse to issue or renew a license, or suspend or revoke a license, if the third-

party food delivery services violates the conditions of the license, including engaging in

misleading advertising or deceptive trade practices. Third-party delivery services who violate

license conditions may also be subject to penalties determined by the department.

       Int. No. 1898

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       The bill would prohibit third-party delivery services, entities that provide restaurants with

online order and delivery services, from charging restaurants for telephone orders with customers

that did not actually occur. Violations would be punishable by a civil penalty of not less than

$250 and not more than $1,000 for each prohibited action that affects a restaurant.

       Int. No. 1907

       This bill would prohibit third-party delivery services, entities that provide restaurants

with online order and delivery services, from limiting the menu prices restaurants may charge on

food and beverage orders. Violations of this prohibition would result in civil penalties of not less

than $1,000 per violation. Civil penalties would accrue for each day in violation.

       Proposed Int. No. 1908-A

       This bill would prohibit third-party food delivery services, entities that provide

restaurants with online order and delivery services, from charging restaurants more than a 10%

fee per order for the use of their service. During a declared emergency, when a state of

emergency is in effect in the city and restaurants are prohibited from offering food for

consumption on-premises, third-party food delivery services would be limited to charging

restaurants delivery fees only, up to a total of 10% per order. All other types of fees, such as

advertising or processing fees, would be prohibited. Violations of these prohibitions would be

subject to civil penalties of not less than $1,000 per violation, with the amount determined by the

Commissioner of DCWP. Civil penalties would accrue for each day and for each restaurant

charged a fee in violation of a prohibition.

       Int. No. 1914




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       This bill provides additional commercial tenant protections in the law by making

threatening a commercial tenant based on their status as a COVID-19 impacted business or

person a form of harassment punishable by a civil penalty of $10,000 to $50,000.

       Int. No. 1916

       Int. 1916 requires the Department of Consumer Affairs to waive all sidewalk café fees,

including consent fees, that are due on or after January 1, 2020 until December 31, 2020. If fees

were already paid, the Department is required to issue a full refund. If enacted, this bill takes

effect immediately and is retroactive to January 1, 2020.


       Int. No. 1921

       Int. 1921 creates a new subchapter 22 in chapter 5 of the Administrative Code titled

“THIRD-PARTY FOOD DELIVERY SERVICES.” This bill requires food service

establishments and third-party food delivery services to display online the sanitary inspection

letter grades assigned by the Department of Health and Mental Hygiene. New section 20-845

sets out the relevant definitions. New section 20-846 requires third-party delivery services to

display sanitary inspection letter grades whenever a food service establishment appears in a list

of results from which a consumer may select. The letter grades are also required to be displayed

whenever a food service establishment’s menu or menu items are displayed to a consumer. Food

service establishments that operate their own websites, mobile applications or other internet-

based services that offer online ordering capabilities are also required to display their sanitary

inspection grades. New section 20-847 creates a penalty of $100 per violation. Each failure to

display a letter grade assigned to a food service establishment in violation of this subchapter

shall be considered a separate violation. If enacted, this bill takes effect one year after it becomes

law.
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       Int. No. 1932

       This bill would prohibit the enforcement of personal liability provisions in commercial

leases or rental agreements involving a COVID-19 impacted tenant where the default or other

trigger event happened during the COVID-19 state of emergency. Threatening to or attempting

to enforce such a provision would also be considered a form of harassment.

       Preconsidered Int. No. ___

       This bill requires the Mayor to publish guidance online listing all City licenses and

permits covered by section four of his Emergency Executive Order Number 107 issued on April

14, 2020. Such guidance would confirm exactly which licenses are not required to be renewed

during the COVID-19 state of emergency. This bill also requires the Mayor to publish guidance

on renewal dates and procedures for such licenses and permits no later than 14 days before the

state of emergency ends, with no renewal deadlines until 90 days after the emergency has ended.


       Res. No. 1049

       This resolution calls upon the United States Congress and the New York State

Legislature to pass legislation to prohibit the use of a confession of judgment in business loans.

Confessions of judgment, which are documents some businesses sign as a condition of receiving

a business loan, can be used by a lender to obtain a judgement against a borrower for any unpaid

debts without any further notification. Although New York State has recently prohibited the use

of confessions of judgment for out-of-state businesses, they may still be used for New York

businesses, and confessions of judgment have been filed in New York courts since the onset of

the COVD-19 outbreak, when some businesses have been unable to make loan payments due to

closures or decreases in revenue.


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                                           Int. No. 1846

By Council Members Torres, Chin and Ayala

A Local Law to amend the administrative code of the city of New York, in relation to the
disclosure of gratuity policies for delivery workers

Be it enacted by the Council as follows:

       Section 1. Chapter 12 of title 20 of the administrative code of the city of New York is

amended by adding a new subchapter 7 to read as follows:

                                           Subchapter 7

                                       Delivery Workers

       § 20-1271 Definitions. As used in this subchapter, the following terms have the following

meanings:

       Base wage. The term “base wage” means money paid, whether by the hour or otherwise,

to a delivery worker by an employer in exchange for work performed, not including gratuities,

bonuses, allowances, shift differentials or other monetary payments that may contribute to such

worker’s total compensation.

       Covered establishment. The term “covered establishment” means any food service

establishment, retail store or other commercial business that offers, in a single commercial

transaction over the internet, whether directly or through a third-party application, the sale and

same-day delivery of goods to customers from one or more retail locations within the city.

       Food service establishment. The term “food service establishment” means any

establishment inspected pursuant to the restaurant grading program established pursuant to

subdivision a of section 81.51 of the health code of the city of New York.

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       Goods. The term “goods” means any merchandise, product or ware offered for sale,

including but not limited to food products, groceries, meals and non-food products.

       Gratuity. The term “gratuity” means a sum of money, paid voluntarily by a customer,

when or after ordering goods for delivery from a covered establishment, in addition to the price

of such goods and other mandatory charges such as taxes and fees, where such voluntary sum is

paid through a third-party application that allows the customer to choose the amount of the

voluntary sum and that refers to the sum as a gratuity or tip, or by another, similar name that

would suggest to a reasonable person that the sum, or a substantial portion thereof, would be

received by the worker delivering the order in addition to the worker’s base wage.

       Third-party application. The term “third-party application” means a person who provides

a website, mobile application or other internet service that allows a customer to order goods from

a covered establishment and arranges for the delivery of those goods to such customer.

       § 20-1272 Disclosure. a. Before or at the same time as a gratuity is solicited from a

customer in connection with the purchase and delivery of a good from a covered establishment

through a third-party application, such third-party application shall disclose the following

information, in plain and simple language and in a conspicuous manner, to such customer about

its policies and the policies of such covered establishment regarding gratuities for delivery

workers in connection with the delivery of purchased goods:

       1. The proportion or fixed amount of each gratuity that is distributed to the worker who

delivered the goods purchased, including whether such gratuity is required to be shared with

other workers;

       2. How gratuities are distributed to delivery workers, whether immediately or otherwise,



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and in what form of payment, whether cash or otherwise; and

       3. The amount of each gratuity that is used to compose each delivery worker’s base wage.

       b. Each covered establishment shall provide such disclosure to each third-party

application through which such goods are being offered for delivery to customers to allow

compliance with subdivision a.

       § 20-1273 Accuracy of representations; recordkeeping. a. No covered establishment or

third-party application may misstate or misrepresent any information in the disclosure required

by section 20-1272.

       b. Such covered establishments and third-party applications shall maintain records

demonstrating the provision of such disclosure to customers, and substantiating all the

information therein, for three years from the date of each customer’s transaction.

       § 20-1274 Penalties. Any person that violates any provision of this subchapter or any rule

promulgated pursuant to this subchapter is liable for a civil penalty of not less than $250 nor

more than $1,000 for each violation. A proceeding to recover any civil penalty authorized

pursuant to this subchapter may be brought in any tribunal established within the office of

administrative trials and hearings or within any agency of the city designated to conduct such

proceedings. For the purposes of this section, each calendar day during which a person is found

to have violated this subchapter shall be considered a separate violation, even if such violation

affects more than one customer.

       § 2. This local law takes effect 180 days after it becomes law, except that the

commissioner of consumer affairs shall take such measures as are necessary for the

implementation of this local law, including the promulgation of rules, before such date.

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       Case 1:20-cv-05301-RA Document 38-43 Filed 08/12/20 Page 45 of 79




LS #10612
6/20/19




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       Case 1:20-cv-05301-RA Document 38-43 Filed 08/12/20 Page 46 of 79




                                           Int. No. 1895

By Council Members Gjonaj, Kallos, Constantinides, Brannan, Perkins, Louis and Ayala

A Local Law to amend the administrative code of the city of New York, in relation to food
service establishments’ packaging of food for delivery

Be it enacted by the Council as follows:

       Section 1. Chapter 15 of title 17 of the administrative code of the city of New York is

amended by adding a new section 17-1508 to read as follows:

       § 17-1508 Packaging food for delivery. a. For purposes of this section, the term “tamper-

evident packaging” means a package having one or more indicators or barriers to entry which, if

breached or missing, can reasonably be expected to provide visible evidence to consumers that

tampering has occurred.

       b. The department shall by rule establish standards and procedures to decrease the risk

that food packaged by food service establishments for delivery is tampered with in transit. Such

procedures may include, but need not be limited to, requiring food service establishments to use

tamper-evident packaging when packaging food for delivery.

       c. The department shall by rule establish civil penalties for any food service

establishment that does not meet the standards established pursuant to this section and the rules

promulgated hereunder. Such penalties shall not exceed $100 for each violation.

       § 2. This local law takes effect 120 days after it becomes law, except that the department

shall take such measures as are necessary for implementation of section 17-1508 of the

administrative code of the city of New York, as added by section one of this local law, including

the promulgation of rules, before such date.


SG
                                               -45-
        Case 1:20-cv-05301-RA Document 38-43 Filed 08/12/20 Page 47 of 79




LS # 13268
1/14/20




                                       -46-
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                                            Int. No. 1896

By Council Members Gjonaj, Kallos, Constantinides, Brannan, Gibson Perkins and Ayala

A Local Law to amend the administrative code of the city of New York, in relation to the
disclosure of commissions charged by third-party food delivery services

Be it enacted by the Council as follows:

       Section 1. Chapter 5 of title 20 of the administrative code of the city of New York is

amended by adding a new subchapter 22 to read as follows:

                                            Subchapter 22

                                Third Party Food Delivery Services

       § 20-845 Definitions. As used in this subchapter, the following terms have the following

meanings:

       Covered establishment. The term “covered establishment” means any food service

establishment that offers, in a single commercial transaction over the internet, whether directly or

through a third-party application, the sale and same-day delivery of food to customers from one

or more retail locations within the city.

       Food service establishment. The term “food service establishment” has the same meaning

as provided in subdivision s of section 81.03 of the health code of the city of New York.

       Third-party food delivery service. The term “third-party food delivery service” means

any website, mobile application or other internet service that offers or arranges for the sale of

food and beverages prepared by, and the same-day delivery or same-day pickup of food and

beverages from, no fewer than 20 separately owned and operated food service establishments.

       § 20-846 Commission disclosure. a. When a final price is disclosed to a customer, and

before a transaction occurs, for the purchase and delivery food from a covered establishment

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       Case 1:20-cv-05301-RA Document 38-43 Filed 08/12/20 Page 49 of 79




through a third-party delivery service, such third-party delivery service shall disclose to such

customer, in plain and simple language and in a conspicuous manner, any commission, fee, or

any other monetary payment imposed by the third-party delivery service on such covered

establishment as a term of a contract or agreement between the parties in connection with the

covered establishment utilizing the third-party delivery service.

       b. Any covered establishment may decline to disclose to customers the commission

charged by a third-party delivery service. If a covered establishment has declined to have such a

commission disclosed to customers, the requirement of subdivision a of this section shall not

apply with respect to such covered establishment.

       § 20-847 Penalties. Any person that violates any provision of this subchapter or any rule

promulgated pursuant to this subchapter is liable for a civil penalty of not less than $250 nor

more than $1,000 for each violation. A proceeding to recover any civil penalty authorized

pursuant to this subchapter may be brought in any tribunal established within the office of

administrative trials and hearings or within any agency of the city designated to conduct such

proceedings. For the purposes of this section, each calendar day during which a person is found

to have violated this subchapter shall be considered a separate violation, even if such violation

affects more than one customer.

       § 20-848 Injunctive relief. In addition to any other relief available by law, the

commissioner may seek any relief available under article 63 of the civil practice law and rules in

a proceeding against any person alleged to be in violation of any provision of this subchapter.

       § 2. This local law takes effect 1 year after it becomes law, except that the commissioner

of consumer affairs shall take such measures as are necessary for the implementation of this local

law, including the promulgation of rules, before such date.
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       Case 1:20-cv-05301-RA Document 38-43 Filed 08/12/20 Page 50 of 79




JK
LS #11768
2/21/2020




                                      -49-
       Case 1:20-cv-05301-RA Document 38-43 Filed 08/12/20 Page 51 of 79




                                           Int. No. 1897

By Council Members Gjonaj, Constantinides, Brannan, Gibson, Perkins, Louis and Ayala

A Local Law to amend the administrative code of the city of New York, in relation to the
licensing of third-party food delivery services

Be it enacted by the Council as follows:

       Section 1. Chapter 2 of title 20 of the administrative code of the city of New York is

amended by adding a new subchapter 36 to read as follows:

                                               Subchapter 36

                                  Third-Party Food Delivery Services

       § 20-565 Definitions. As used in this subchapter, the following terms have the following

meanings:

       Food service establishment. The term “food service establishment” has the same meaning

as provided in subdivision s of section 81.03 of the health code of the city of New York.

       Third-party food delivery service. The term “third-party food delivery service” means

any website, mobile application or other internet service that offers or arranges for the sale of

food and beverages prepared by, and the same-day delivery or same-day pickup of food and

beverages from, no fewer than 20 separately owned and operated food service establishments.

       § 20-565.1 License required. It shall be unlawful for any person to operate a third-party

food delivery service without first having obtained a license thereof issued pursuant to this

subchapter.

       § 20-565.2 Application and fees. a. An application for any license required under this

subchapter or for any renewal thereof shall be made to the commissioner in such form or manner

as the commissioner shall prescribe by rule.

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       Case 1:20-cv-05301-RA Document 38-43 Filed 08/12/20 Page 52 of 79




       b. There shall be a biennial fee for a license to operate a third-party food delivery service.

Such fee shall be no less than $500, as determined by the commissioner.

       § 20-565.3 Issuance of license. A license to operate a third-party food delivery service

shall be granted in accordance with the provisions of this subchapter and any rules promulgated

by the commissioner thereunder. The commissioner may refuse to issue to an applicant any

license required under this subchapter based upon a determination made after due notice and

opportunity to be heard that such applicant has engaged in conduct which would constitute a

basis for license suspension or revocation as set forth in section 20-565.4 of this subchapter.

       § 20-565.4 Renewal, suspension and revocation of license. In addition to any powers of

the commissioner and not in limitation thereof, the commissioner may, after due notice and

opportunity to be heard, refuse to renew any license required under this subchapter and may

suspend or revoke such license if the person holding such license, or, where applicable, any of its

officers, principals, directors, members, managers, employees, or stockholders owning more than

ten percent of the outstanding stock of the corporation, has been found to have:

       a. Repeated violation of any provision of this subchapter or any rules promulgated

thereunder; or

       b. Made a material false statement or concealed a material fact in connection with the

filing of any application pursuant to this subchapter or have been found to have committed fraud

or misrepresentation upon a customer; or

       c. Engaged in untrue, misleading or deceptive advertising, or deceptive or unconscionable

trade practices as described in chapter five of title twenty of this code and any rules promulgated

thereunder; or



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        d. Not paid, within the time permitted by law, any civil penalty or judgment duly imposed

pursuant to the provisions of this subchapter or any rule promulgated thereunder.

        § 20-565.5 Penalties and enforcement. a. Any person who violates, or causes another

person to violate, a provision of this subchapter or any rule promulgated pursuant to such

subchapter, shall be guilty of an offense punishable by fines and civil penalties imposed by the

commissioner.

        b. A proceeding to recover any civil penalty pursuant to this section shall be commenced

by the service of a summons or notice of violation which shall be returnable to the office of

administrative trials and hearings.

        § 2. This local law takes effect 1 year after it becomes law, except that the commissioner

of consumer affairs shall take such measures as are necessary for the implementation of this local

law, including the promulgation of rules, before such date.

SJ
LS #13018
2/21/20




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                                            Int. No. 1898

By Council Members Gjonaj, Moya, Constantinides, Brannan, Rosenthal, Gibson, Perkins, Louis
and Ayala

A Local Law to amend the administrative code of the city of New York, in relation to telephone
order charges by third-party food delivery services

Be it enacted by the Council as follows:

       Section 1. Chapter 5 of title 20 of the administrative code of the city of New York is

amended by adding a new subchapter 22 to read as follows:

                                            Subchapter 22

                                Third Party Food Delivery Services

       § 20-845 Definitions. As used in this subchapter, the following terms have the following

meanings:

       Covered establishment. The term “covered establishment” means any food service

establishment that offers, in a single commercial transaction over the internet, whether directly or

through a third-party application, the sale and same-day delivery of food to customers from one

or more retail locations within the city.

       Food service establishment. The term “food service establishment” has the same meaning

as provided in subdivision s of section 81.03 of the health code of the city of New York.

       Third-party food delivery service. The term “third-party food delivery service” means

any website, mobile application or other internet service that offers or arranges for the sale of

food and beverages prepared by, and the same-day delivery or same-day pickup of food and

beverages from, no fewer than 20 separately owned and operated food service establishments.

       § 20-846 Telephone orders. No third-party delivery service may charge a commission

from a covered establishment for a telephone order that does not result in an actual transaction
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between the covered establishment and a customer during such telephone call, or that exceeds

the established commission rate between the third-party delivery service and covered

establishment.

        § 20-847 Penalties. Any person that violates any provision of this subchapter or any rule

promulgated pursuant to this subchapter is liable for a civil penalty of not less than $250 nor

more than $1,000 for each violation. A proceeding to recover any civil penalty authorized

pursuant to this subchapter may be brought in any tribunal established within the office of

administrative trials and hearings or within any agency of the city designated to conduct such

proceedings. For the purposes of this section each instance in which a prohibited action affects a

covered establishment shall constitute a separate violation.

        § 20-848 Injunctive relief. In addition to any other relief available by law, the

commissioner may seek any relief available under article 63 of the civil practice law and rules in

a proceeding against any person alleged to be in violation of any provision of this subchapter.

        § 2. This local law takes effect 1 year after it becomes law, except that the commissioner

of consumer affairs shall take such measures as are necessary for the implementation of this local

law, including the promulgation of rules, before such date.

JK
LS #12594
2/21/2020




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                                           Int. No. 1907

By Council Members Moya, Gjonaj, Brannan, Rosenthal, Gibson, Perkins, Louis and Ayala

A Local Law to amend the administrative code of the city of New York, in relation to prohibiting
third-party food delivery services from limiting the purchase prices covered establishments may
charge on food and beverage orders

Be it enacted by the Council as follows:

       Section 1. Chapter 5 of title 20 of the administrative code of the city of New York is

amended by adding a new subchapter 22 to read as follows:

                                              Subchapter 22

                                   Third-Party Food Delivery Services

       § 20-845 Definitions. For the purposes of this subchapter, the following terms have the

following meanings:

       Covered establishment. The term “covered establishment” means any food service

establishment that offers, in a single commercial transaction over the internet, whether directly or

through a third-party food delivery service, the sale and same-day delivery of food to customers

from one or more retail locations within the city.

       Food service establishment. The term “food service establishment” has the same meaning

as provided in subdivision s of section 81.03 of the health code of the city of New York.

       Online order. The term “online order” means an order placed by a customer through a

platform provided by a third-party food delivery service.

       Purchase price. The term “purchase price” means the menu price of a food order from a

covered establishment. Such term therefore excludes taxes, gratuities and any other fees that may

make up the total cost to the customer of a food order.



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       Third-party food delivery service. The term “third-party food delivery service” means

any website, mobile application or other internet service that offers or arranges for the sale of

food and beverages prepared by, and the same-day delivery or same-day pickup of food and

beverages from, no fewer than 20 separately owned and operated food service establishments.

       § 20-846 Prohibited limits on purchase prices. It shall be unlawful for third-party food

delivery services to, by contract or any other means, impose on covered establishments any

requirement regarding the purchase prices that covered establishments may charge for food or

beverages ordered through such application or through any other means.

       § 20-847 Penalties. Any person that violates any provision of this subchapter or any rule

promulgated pursuant to this subchapter shall be subject to a civil penalty of not less than $1,000

per violation. A proceeding to recover any civil penalty authorized pursuant to this subchapter

may be brought in any tribunal established within the office of administrative trials and hearings

or within any agency of the city designated to conduct such proceedings. For the purposes of this

section, each calendar day during which a person is found to have violated this subchapter shall

be considered a separate violation, even if such violation affects more than one covered

establishment.

       § 20-848 Injunctive relief. In addition to any other relief available by law, the

commissioner may seek any relief available under article 63 of the civil practice law and rules in

a proceeding against any person alleged to be in violation of any provision of this subchapter.

       § 2. This local law takes effect 1 year after it becomes law, except that the commissioner

of consumer affairs shall take such measures as are necessary for the implementation of this local

law, including the promulgation of rules, before such date.

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                                               -56-
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LS #9163
2/21/20




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                                    Proposed Int. No. 1908-A

By Council Members Moya, Gjonaj, Kallos, Brannan, Rosenthal, Gibson, Ayala, Van Bramer,
Rivera, Cohen, Perkins and Louis

A Local Law to amend the administrative code of the city of New York, in relation to fees
charged by third-party food delivery services

Be it enacted by the Council as follows:

       Section 1. Chapter 5 of title 20 of the administrative code of the city of New York is

amended by adding a new subchapter 22 to read as follows:

                                              Subchapter 22

                                   Third-Party Food Delivery Services

       § 20-845 Definitions. For the purposes of this subchapter, the following terms have the

following meanings:

       Covered establishment. The term “covered establishment” means any food service

establishment that offers, in a single commercial transaction over the internet, whether directly or

through a third-party food delivery service, the sale and same-day delivery of food to customers

from one or more retail locations within the city.

       Declared emergency. The term “declared emergency” means any time during which a

state of emergency has been declared by the president of the United States, the governor of the

state of New York or the mayor of the city, and is in effect in the city, and during which all food

service establishments in the city are prohibited from providing food for consumption on-

premises.

       Delivery fee. The term “delivery fee” means a fee charged by a third-party food delivery

service to cover the cost of providing a covered establishment with a service that delivers food

from such establishment to customers. The term does not include any other fee that may be
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charged by a third-party food delivery service to a covered establishment, such as fees for listing

or advertising the covered establishment on the third-party food delivery service platform or fees

related to processing the online order.

       Food service establishment. The term “food service establishment” has the same meaning

as provided in subdivision s of section 81.03 of the health code of the city of New York.

       Online order. The term “online order” means an order placed by a customer through a

platform provided by a third-party food delivery service.

       Purchase price. The term “purchase price” means the menu price of an online order. Such

term does not include taxes, gratuities and any other fees that may make up the total cost to the

customer of an online order.

       Third-party food delivery service. The term “third-party food delivery service” means

any website, mobile application or other internet service that offers or arranges for the sale of

food and beverages prepared by, and the same-day delivery or same-day pickup of food and

beverages from, no fewer than 20 separately owned and operated food service establishments.

       § 20-846 Service fees. a. It shall be unlawful for a third-party food delivery service to

charge a covered establishment a fee for the use of their service that totals more than 10% of the

purchase price of each online order.

       b. Subdivision a of this section notwithstanding, during a declared emergency it shall be

unlawful for any third-party food delivery service to charge a covered establishment a delivery

fee that totals more than 10% of the purchase price of each online order, and it shall be unlawful

during such declared emergency for a third-party food delivery service to charge a covered

establishment any fee for the use of their services other than a delivery fee.



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        § 20-847 Penalties. Any person that violates any provision of this subchapter or any rule

promulgated pursuant to this subchapter shall be subject to a civil penalty of not less than $1,000

per violation, with the exact amount determined by a rule promulgated by the commissioner of

consumer affairs. Violations shall accrue on a daily basis for each day and for each covered

establishment charged a fee in violation of this subchapter or any rule promulgated pursuant to

this subchapter. A proceeding to recover any civil penalty authorized pursuant to this subchapter

may be brought in any tribunal established within the office of administrative trials and hearings

or within any agency of the city designated to conduct such proceedings.

        § 20-848 Injunctive relief. In addition to any other relief available by law, the

commissioner may seek any relief available under article 63 of the civil practice law and rules in

a proceeding against any person alleged to be in violation of any provision of this subchapter.

        § 2. This local law takes effect immediately.

SJ
LS #9163
4/20/20 10:30 AM




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                                            Int. No. 1914

By Council Members Adams, the Speaker (Council Member Johnson), Kallos, Van Bramer,
Chin, Louis and Ayala

A Local Law to amend the administrative code of the city of New York, in relation to harassment
of commercial tenants impacted by COVID-19

Be it enacted by the Council as follows:

       Section 1. Paragraph 11 of subdivision a of section 22-902 of the administrative code of

the city of New York, as added by local law number 185 for the year 2019, is amended to read as

follows:

       11. threatening a commercial tenant based on (i) such person’s actual or perceived age,

race, creed, color, national origin, gender, disability, marital status, partnership status, caregiver

status, uniformed service, sexual orientation, alienage or citizenship status, status as a victim of

domestic violence[,] or status as a victim of sex offenses or stalking, or (ii) the commercial

tenant’s status as a person or business impacted by COVID-19, or the commercial tenant’s

receipt of a rent concession or forbearance for any rent owed during the COVID-19 period;

provided that for the purposes of this paragraph:

       (a) the term “COVID-19 period” means March 7, 2020 through the later of (i) the end of

the first month that commences after the expiration of the moratorium on enforcement of

evictions of residential and commercial tenants set forth in executive order number 202.8, as

issued by the governor on March 20, 2020 and thereafter extended, (ii) the end of the first month

that commences after the expiration of the moratorium on certain residential evictions set forth in

section 4024 of the coronavirus aid, relief, and economic security, or CARES, act and any

subsequent amendments to such section or (iii) September 30, 2020, inclusive;



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       (b) a person is “impacted by COVID-19” if such person experienced one or more of the

following situations:

       (1) the person was diagnosed with COVID-19 or is experiencing symptoms of COVID-

19 and seeking a medical diagnosis; provided that for the purposes of this subparagraph, the term

“COVID-19” means the 2019 novel coronavirus or 2019-nCoV;

       (2) a member of the person’s household was diagnosed with COVID-19;

       (3) the person was providing care for a family member or a member of the person’s

household who was diagnosed with COVID-19;

       (4) a member of the person’s household for whom the person had primary caregiving

responsibility was unable to attend school or another facility that was closed as a direct result of

the COVID-19 state disaster emergency and such school or facility care was required for the

person to work; provided that for the purposes of this subparagraph, the term “COVID-19 state

disaster emergency” means the state disaster emergency declared by the governor in executive

order number 202 issued on March 7, 2020;

       (5) the person was unable to reach their place of business because of a quarantine

imposed as a direct result of the COVID-19 state disaster emergency;

       (6) the person was unable to reach their place of business because the person had been

advised by a health care provider to self-quarantine due to concerns related to COVID-19;

       (7) the person became the breadwinner or major supporter for a household because the

head of the household died as a direct result of COVID-19;

       (8) the person’s business is closed as a direct result of the COVID-19 state disaster

emergency; and



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       (c) a business is “impacted by COVID-19” if (i) it was subject to seating, occupancy or

on-premises service limitations pursuant to an executive order issue by the governor or mayor

during the COVID-19 period or (ii) its revenues during any three-month period within the

COVID-19 period were less than 50 percent of its revenues for the same period in 2019 or less

than 50 percent of its aggregate revenues for the months of December 2019, January 2019 and

February 2020;

       § 2. This local law takes effect immediately.


LS # 14764
4/20/20 4:37PM




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                                             Int. No. 1916

By Council Members Cohen, Chin, Powers, Yeger, Louis and Ayala

A Local Law in relation to requiring the department of consumer affairs to waive and refund all
fees related to sidewalk cafe licenses that are due on or after January 1, 2020 until December 31,
2020, and providing for the repeal of such provision upon the expiration thereof

Be it enacted by the Council as follows:

        Section 1. Emergency waiver of sidewalk cafe fees. a. Notwithstanding any inconsistent

provision of law or rule, the department of consumer affairs shall waive all fees related to

sidewalk cafe licenses issued pursuant to subchapter 6 of chapter 2 of title 20 of the

administrative code, including, but not limited to, revocable consent fees, for which the payment

due date falls on or after January 1, 2020 until December 31, 2020. The department shall issue

refunds for all sidewalk cafe license fees paid by licensees on or after January 1, 2020 until

December 31, 2020.

        b. This section does not apply to new sidewalk cafe license applications filed with the

department of consumer affairs on or after March 30, 2020.

        c. The department shall have the authority to promulgate any rules necessary to

administer the provisions of this section.

        § 2. This local law takes effect immediately and is retroactive to and deemed to have

been in effect as of January 1, 2020.

         § 3. This local law expires and is deemed repealed on January 1, 2021.

BAM
LS #14484
3/31/2020 6:08 p.m.




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                                           Int. No. 1921

By Council Members Gjonaj, Louis, Powers, Cohen and Ayala

A Local Law to amend the administrative code of the city of New York, in relation to requiring
third-party food delivery services and food service establishments to display sanitary inspection
letter grades online

Be it enacted by the Council as follows:

       Section 1. Chapter 5 of title 20 of the administrative code of the city of New York is

amended by adding a new subchapter 22 to read as follows:

                                              Subchapter 22

                           THIRD-PARTY FOOD DELIVERY SERVICES

       § 20-845 Definitions. For the purposes of this subchapter, the following terms have the

following meanings:

       Food service establishment. The term “food service establishment” has the same meaning

as provided in subdivision s of section 81.03 of the health code of the city of New York.

       Letter grade. The term “letter grade” means the sanitary inspection grade issued by the

department of health and mental hygiene pursuant to section 81.51 of the health code of the city

of New York.

       Menu. The term “menu” means a written list of the names or images of a food item or

items and the prices of such items, that is the primary writing of a food service establishment

from which a person makes an order selection.

       Menu item. The term “menu item” means any food item that a customer may select for

purchase from a food service establishment.



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       Online order. The term “online order” means an order placed by a customer through a

platform provided by a third-party food delivery service or a food service establishment.

       Third-party food delivery service. The term “third-party food delivery service” means

any website, mobile application or other internet service that offers or arranges for the sale of

food and beverages prepared by, and the same-day delivery or same-day pickup of food and

beverages from, no fewer than 20 separately owned and operated food service establishments.

       § 20-846 Display of letter grades required. a. Every third-party food delivery service shall

display the letter grade assigned to each food service establishment in a conspicuous manner to

persons using such service. Such letter grade shall be displayed adjacent to the name of each

food service establishment whenever such name appears on a list of food service establishments

that can be selected by a person to make an online order. Such letter grade shall also be displayed

conspicuously whenever the menu or menu items of a food service establishment are displayed

for selection by persons using such service.

       b. Every food service establishment that operates a website, mobile application or other

internet service that offers or arranges for the sale of food and beverages prepared by, and the

same-day delivery or same-day pickup of food and beverages from such food service

establishment, shall conspicuously and prominently post its letter grade on such website, mobile

application or other internet service.

       c. The department may establish by rule additional requirements relating to the display of

such letter grades.

       § 20-847 Penalties. Any person that violates any provision of this subchapter or any rule

promulgated pursuant to this subchapter shall be subject to a civil penalty of not less than $100



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per violation. A proceeding to recover any civil penalty authorized pursuant to this subchapter

may be brought in any tribunal established within the office of administrative trials and hearings

or within any agency of the city designated to conduct such proceedings. For the purposes of this

section, each failure to display a letter grade assigned to a food service establishment in violation

of this subchapter shall be considered a separate violation.

§ 2. This local law takes effect 1 year after it becomes law, except that the commissioner of
consumer affairs shall take such measures as are necessary for the implementation of this local
law, including the promulgation of rules, before such date.


BAM
LS #13959
2/28/20




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                                           Int. No. 1932

By Council Member Rivera, the Speaker (Council Member Johnson), Kallos, Van Bramer,
Rosenthal, Chin and Ayala

A Local Law to amend the administrative code of the city of New York, in relation to personal
liability provisions of leases for commercial tenants impacted by COVID-19

Be it enacted by the Council as follows:

       Section 1. Chapter 10 of title 22 of the administrative code of the city of New York is

amended by adding a new section 22-1004 to read as follows:

       § 22-1004. Personal liability provisions in commercial leases. a. Definitions. For the

purposes of this section, the following terms have the following meanings:

       COVID-19. The term “COVID-19” means the 2019 novel coronavirus or 2019-nCoV.

       COVID-19 period. The term “COVID-19 period” means March 7, 2020 through the later

of (i) the end of the first month that commences after the expiration of the moratorium on

enforcement of evictions of residential and commercial tenants set forth in executive order

number 202.8, as issued by the governor on March 20, 2020 and thereafter extended, (ii) the end

of the first month that commences after the expiration of the moratorium on certain residential

evictions set forth in section 4024 of the coronavirus aid, relief, and economic security, or

CARES, act and any subsequent amendments to such section or (iii) September 30, 2020,

inclusive.

       COVID-19 state disaster emergency. The term “COVID-19 state disaster emergency”

means the state disaster emergency declared by the governor in executive order number 202

issued on March 7, 2020.

       Impacted by COVID-19. The term “impacted by COVID-19” means:



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       1. With respect to an individual, that the individual experienced one or more of the

following situations:

       (a) the individual was diagnosed with COVID-19 or is experiencing symptoms of

COVID-19 and seeking a medical diagnosis;

       (b) a member of the individual’s household was diagnosed with COVID-19;

       (c) the individual was providing care for a family member or a member of the

individual’s household who was diagnosed with COVID-19;

       (d) a member of the individual’s household for whom the person had primary caregiving

responsibility was unable to attend school or another facility that was closed as a direct result of

the COVID-19 state disaster emergency and such school or facility care was required for the

person to work;

       (e) the individual was unable to reach their place of business because of a quarantine

imposed as a direct result of the COVID-19 state disaster emergency;

       (f) the individual was unable to reach their place of business because of the person had

been advised by a health care provider to self-quarantine due to concerns related to COVID-19;

        (g) the individual became the breadwinner or major support for a household because the

head of the household died as a direct result of COVID-19; or

        (h) the individual’s business closed as a direct result of the COVID-19 state disaster

emergency.

       2. With respect to a business, that (i) the business was subject to seating, occupancy or

on-premises service limitations pursuant to an executive order issued by the governor or mayor

during the COVID-19 period or (ii) the revenues of the business during any three-month period

within the COVID-19 period were less than 50 percent of its revenues for the same period in
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2019 or less than 50 percent of its aggregate revenues for the months of December 2019, January

2019, and February 2020.

       Personal liability provision. The term “personal liability provision” means, with respect

to a commercial lease or other rental agreement involving real property and to which a business

is a party as tenant, a term that provides for an individual to become wholly or partially

personally liable for an obligation of such business arising under such lease or agreement upon

the occurrence of a default or other event.

       b. No personal liability provision of a commercial lease or other rental agreement

involving real property and to which a business impacted by COVID-19 is a party as tenant may

be enforced against an individual where the default or other event allowing for such enforcement

occurs during the COVID-19 period.

       § 2. Subdivision a of section 22-902 of the administrative code of the city of New York,

as amended by local law number 185 for the year 2019, is amended to read as follows:

       a. A landlord shall not engage in commercial tenant harassment. Except as provided in

subdivision b of this section, commercial tenant harassment is any act or omission by or on

behalf of a landlord that (i) would reasonably cause a commercial tenant to vacate covered

property, or to surrender or waive any rights under a lease or other rental agreement or under

applicable law in relation to such covered property, and (ii) includes one or more of the

following:

       1. using force against or making express or implied threats that force will be used against

a commercial tenant or such tenant’s invitee;

       2. causing repeated interruptions or discontinuances of one or more essential services;



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        3. causing an interruption or discontinuance of an essential service for an extended period

of time;

        4. causing an interruption or discontinuance of an essential service where such

interruption or discontinuance substantially interferes with a commercial tenant’s business;

        5. repeatedly commencing frivolous court proceedings against a commercial tenant;

        6. removing from a covered property any personal property belonging to a commercial

tenant or such tenant’s invitee;

        7. removing the door at the entrance to a covered property occupied by a commercial

tenant; removing, plugging or otherwise rendering the lock on such entrance door inoperable; or

changing the lock on such entrance door without supplying a key to the new lock to the

commercial tenant occupying the covered property;

        8. preventing a commercial tenant or such tenant’s invitee from entering a covered

property occupied by such tenant;

        9. substantially interfering with a commercial tenant’s business by commencing

unnecessary construction or repairs on or near covered property; [or]

        10. engaging in any other repeated or enduring acts or omissions that substantially

interfere with the operation of a commercial tenant’s business;

        11. threatening a commercial tenant based on such person’s actual or perceived age, race,

creed, color, national origin, gender, disability, marital status, partnership status, caregiver status,

uniformed service, sexual orientation, alienage or citizenship status, status as a victim of

domestic violence, status as a victim of sex offenses or stalking;




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        12. requesting identifying documentation that would disclose the citizenship status of a

commercial tenant, an invitee of a commercial tenant or any person seeking entry to the covered

property in order to patronize such commercial tenant; [or]

        13. unreasonably refusing to cooperate with a tenant’s permitted repairs or construction

activities[.]; or

        14. threatening to or implementing a personal liability provision that is not enforceable

pursuant to section 22-1004 of the code; provided that for the purposes of this paragraph:

        (a) the term “COVID-19 period” means March 7, 2020 through the later of (i) the end of

the first month that commences after the expiration of the moratorium on enforcement of

evictions of residential and commercial tenants set forth in executive order number 202.8, as

issued by the governor on March 20, 2020 and thereafter extended, (ii) the end of the first month

that commences after the expiration of the moratorium on certain residential evictions set forth in

section 4024 of the coronavirus aid, relief, and economic security, or CARES, act and any

subsequent amendments to such section or (iii) September 30, 2020, inclusive;

        (b) a person is “impacted by COVID-19” if such person experienced one or more of the

following situations:

        (1) the person was diagnosed with COVID-19 or is experiencing symptoms of COVID-

19 and seeking a medical diagnosis; provided that for the purposes of this subparagraph, the term

“COVID-19” means the 2019 novel coronavirus or 2019-nCoV;

        (2) a member of the person’s household was diagnosed with COVID-19;

        (3) the person was providing care for a family member or a member of the person’s

household who was diagnosed with COVID-19;



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       (4) a member of the person’s household for whom the person had primary caregiving

responsibility was unable to attend school or another facility that was closed as a direct result of

the COVID-19 state disaster emergency and such school or facility care was required for the

person to work; provided that for the purposes of this subparagraph, the term “COVID-19 state

disaster emergency” means the state disaster emergency declared by the governor in executive

order number 202 issued on March 7, 2020;

       (5) the person was unable to reach the person’s place of business because of a quarantine

imposed as a direct result of the COVID-19 state disaster emergency;

       (6) the person was unable to reach the person’s place of business because the person had

been advised by a health care provider to self-quarantine due to concerns related to COVID-19;

        (7) the person became the breadwinner or major support for a household because the

head of the household died as a direct result of COVID-19; or

        (8) the person’s business is closed as a direct result of the COVID-19 state disaster

emergency;

       (c) a business is “impacted by COVID-19” if (i) it was subject to seating, occupancy or

on-premises service limitations pursuant to an executive order issued by the governor or mayor

during the COVID-19 period or (ii) its revenues during any three-month period within the

COVID-19 period were less than 50 percent of its revenues for the same period in 2019 or less

than 50 percent of its aggregate revenues for the months of December 2019, January 2019, and

February 2020; and

       (d) the term “personal liability provision” has the meaning set forth in section 22-1004 of

the code;

       § 3. This local law takes effect immediately.
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LS # 14817
4/20/20 4:31PM




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                                     Preconsidered Int. No.

By Council Member Matteo

A Local Law in relation to requiring the mayor to issue a guidance on license and permit renewal
deadline extensions, and requiring that no such licenses or permits be required to be renewed
within 90 days after the COVID-19 emergency has ended, and providing for the repeal of such
provision upon the expiration thereof

Be it enacted by the Council as follows:

       Section 1. Emergency extension of renewal deadlines for licenses and permits due to

COVID-19. a. The mayor or his designee shall publish guidance that includes a list of all city

licenses and permits covered by section 4 of the mayor’s emergency executive order number 107

for the year 2020. Such guidance shall be published online no later than 14 days after the

enactment of this local law.

       b. The mayor or his designee shall update the guidance published pursuant to subdivision

a to include information about renewal procedures and deadlines for such licenses and permits

and shall publish such updated guidance online no later than 14 days prior to the end of the

emergency declared by the mayor’s executive order number 98 for the year 2020, as such order

may be extended. A failure to publish such guidance shall not limit the mayor’s authority to end

the emergency declared by the mayor’s executive order number 98 for the year 2020, as such

order may be extended.

       c. No city license or permit covered by section 4 of the mayor’s emergency executive

order number 107 for the year 2020 shall be required to be renewed during the COVID-19 state

of emergency and for a period of 90 days after such emergency has ended.

       d. For the purposes of this local law, the term “COVID-19 state of emergency” means the

period of time from the effective date of this local law until the state of emergency declared

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pursuant to the governor’s executive order number 202 for the year 2020, as such order may be

extended, and the mayor’s executive order number 98 for the year 2020, as such order may be

extended, have both expired with respect to the city of New York.

        § 2. This local law takes effect immediately and expires and is deemed repealed 100 days

after the COVID-19 state of emergency has ended.

BAM
LS #14873
4/23/2020 12:00 p.m.




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                                             Res. No. 1049

Resolution calling upon the United States Congress and the New York State Legislature to pass
legislation to prohibit the use of a confession of judgment in business loans.

By the Public Advocate (Mr. Williams) and Council Members Levin, Cabrera and Louis

       Whereas, There are currently 11,938 active taxicab medallions operating in New York

City; and

       Whereas, Many medallions owners take out business loans to finance the purchase of

their vehicles; and

       Whereas, Some of the business loans that medallion owners take out include a document

known as a “confession of judgment,” where the borrower waives the right to due process if the

debt is unpaid and there is a dispute; and

       Whereas, Once signed, a “confession of judgment” can be used by the lender to obtain a

judgment against the borrower without any further notification; and

       Whereas, The Federal government currently has prohibitions on the use of confessions of

judgment in consumer loans, but not for business loans; and

       Whereas, The United States Federal Trade Commission has recently called for the

elimination of confessions of judgment in small business lending contracts; and

       Whereas, Many states have also banned confessions of judgment practices for business

loans, but New York State does not prohibit them; and

       Whereas, A recent New York Times expose revealed that “confession of judgment”

documents may have been used by lenders to influence some borrowers applying for taxi

medallion loans; and

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          Whereas, According to the New York Times, some of the documents they reviewed show

that some medallion borrowers admitted to defaulting on their loans even before the loan was

approved; and

          Whereas, A “confession of judgment” can be used by banks and other lending institutions

as a document in predatory lending practices, a loophole that should be closed; now, therefore,

be it

          Resolved, That the Council of the City of New York calls upon the United States

Congress and the New York State Legislature to pass legislation to prohibit the use of a

confession of judgment in business loans.

LS 9151, 9153, 11030, 11060
RA
7/18/2019




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